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                          IN THE UNITED STATES DISTRICT COURT                          MAY 2 4 2019
                         FOR THE EASTERN DISTRICT OF ARKANSAS
                                                                             ~A~ES W.~MACK, CLERK
GAVILON GRAIN, LLC                           )                                 y                       DEPCLERK
                                             )
                Plaintiff,                   )                  CIVIL ACTION NO.
                                             )
       vs.                                   )
                                             )
                                                       2= 19-c.v-5~ - SM
K & A SEALY FARMS, an Arkansas               )
General Partnership; C & A                   )
HEIDELBERGER FARMS, an Arkansas              )
General Partnership; BROCATO &
UNGER FARMS, an Arkansas General
                                             )
                                             )         This case assigned to District Judge   MooJ y
Partnership; PHARR FARMS, an                 )         and to Magistrate Judge - ~.....o_lp.,,,_e,
                                                                                               ______
Arkansas General Partnership; and C & D      )
FARMS, an Arkansas General                   )
Partnership                                  )
              Defendants.

                             PETITION TO COMPEL ARBITRATION

                                          Introduction

       Gavilon Grain, LLC ("Gavilon") files this Petition to Compel Arbitration under 9 U.S.C.

§ 4 of the Federal Arbitration Act. K&A Sealey Farms, C&A Heidelberger Farms, Brocato &

Unger Farms, Pharr Farms, and C&D Farms (collectively, the "Farms") each entered into an

arbitration agreement that requires them to arbitrate their claims against Gavilon. The Farms

have violated these agreements by filing a complaint against Gavilon in Arkansas state court.

Under section 4 of the Federal Arbitration Act, this Court should enforce the arbitration

agreements and compel the Farms to arbitrate their claims.

                                             Parties

       1.       Gavilon Grain, LLC is a Delaware limited liability corporation with its principal

place of business in Omaha, Nebraska. The following is its ownership structure: Gavilon Grain,

LLC is wholly owned by Gavilon Global Ag Holdings, LLC; which is wholly owned by The

Gavilon Group, LLC; which is wholly owned by Marble Gold V LLC; which is wholly owned
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by Gavilon Agriculture Investment, Inc. Gavilon Agriculture Investment, Inc. is a Delaware

corporation with its principal place of business in Nebraska. Gavilon Grain, LLC is therefore a

citizen of Delaware and Nebraska.

        2.      K&A Sealy Farms is an Arkansas general partnership with its principal place of

business in Arkansas.

        3.      C & A Heidelberger Farms is an Arkansas general partnership with its principal

place of business in Arkansas.

        4.      Brocato & Unger Farms is an Arkansas general partnership with its principal

place of business in Arkansas.

        5.      Pharr Farms 1s an Arkansas general partnership with its principal place of

business in Arkansas.

        6.      C&D Farms 1s an Arkansas general partnership with its principal place of

business in Arkansas.

                                      Jurisdiction and Venue

        7.      This court has jurisdiction under 28 U.S.C. § 1332 and 28 U.S.C. § 1367. All

defendants are citizens of Arkansas. Gavilon is a citizen of Delaware and Nebraska. Complete

diversity between the parties therefore exists, and the amount in controversy exceeds $75,000.

(See Ex. A, State Court Compl. at 9 (seeking $250,000 in punitive damages in addition to actual

damages and attorneys' fees)). Additionally, all of the plaintiffs' claims are so related that they

form part of the same case or controversy under Article III of the United States Constitution.

        8.      Venue is proper under 9 U.S.C § 4 because, save for the arbitration agreement,

jurisdiction would be proper in this Court, and the arbitration provision does not identify another

location for the arbitration to take place.




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                                                Facts

        9.      The Farms are agricultural entities engaged in soybean production.

        10.     In 2018, Gavilon Grain, LLC entered into a series of agreements to purchase

soybeans from the each of Farms. (Ex. B, K&A Sealy Farms Contract; Ex. C, C & A

Heidelberger Farms Contract; Ex. D, Brocato & Unger Farms Contract; Ex. E, Pharr Farms

Contract; Ex. F, C&D Farms Contract.)

        11.     Each contract contains the following Arbitration Provision:

       CONTROVERSIES: Controversies and/or other disagreements between Buyer
       and Seller arising under this Contract shall be settled by arbitration which shall be
       a condition precedent to any right of legal action that either Buyer or Seller may
       have against the other party. Any arbitration shall be in accordance with the rules
       of the National Grain and Feed Association [NGFA]. At the time notice of
       arbitration is served by either Buyer or Seller upon the other, (I) if either is a
       member ofNGFA, the NGFA Arbitration Committee shall serve as the arbitrator;
       (ii) if neither is a member of the NGFA, the American Arbitration Association
       shall serve as the arbitrator.

(Exs. B-F, at 2.)

        12.     On April 8, 2019, the Farms filed suit against Gavilon in the Circuit Court of

Phillips County, Arkansas.

        13.     In an apparent effort to avoid arbitration, the Farms characterized their claims-

which arise from the purchase and sale of soybean-as tort claims for deceit and negligence.

Nonetheless, the Farms' claims against Gavilon arise under the parties' contracts. Specifically,

the Farms claim that Gavilon did not pay them the amount it promised.

        14.     In order to avoid federal diversity jurisdiction, the Farms named Gavilon

employee, Robert Rhodes, as a defendant in the state court suit. The Farms' claims against

Rhodes are based on alleged actions in his capacity as and employee and agent of Gavilon, and

seek to hold Gavilon vicariously liable for Rhodes' action. The Farms' claims against Rhodes

therefore arose under the parties' contract and are subject to arbitration.


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         15.    Despite the Arbitration Provision's requirement that arbitration is "a condition

precedent to any right of legal action that either Buyer or Seller may have against the other

party," the Farms did not seek arbitration prior to filing suit.

               Count I - Compel Arbitration Under the Federal Arbitration Act

         16.    Gavilon incorporates and realleges the allegations in Paragraphs 1-14.

         17.    Gavilon has a valid Arbitration Provision with each of the Farms. (See Exs. B-F,

at 2.)

         18.    Despite the Arbitration Provisions, the Farms have failed to arbitrate their claims

against Gavilon as they are obligated to do.

         19.    Instead, the Farms filed suit against Gavilon in the Circuit Court of Phillips

County, Arkansas.

         20.    The Farms' claims in the Phillips County lawsuit arise from their contracts with

Gavilon and are covered by the Arbitration Agreement.

         21.    Additionally, under the Arbitration Provision, arbitration is a condition precedent

to any legal claims brought by either the Farms or Gavilon against the other. Because the Farms

have not arbitrated their claims, that condition precedent has not been met.

         22.    Gavilon has been aggrieved by the Farms' failure to arbitrate their claims.

         23.    Under 9 U.S.C. § 4 of the Federal Arbitration Act, Gavilon is entitled to an order

compelling the Farms to arbitrate their claims.

                                          Prayer for Relief

         For these reasons, Gavilon respectfully requests that the Court enter an order (1)

enforcing the Arbitration Provisions; and (2) compelling the Farms to arbitrate its claims.

         Dated this   'l '1 ~of May, 2019.


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                           Respectfully Submitted,



                           Clayborne S. Stone (Ark. Bar No. 2003102)
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                            GATES & WOODYARD, P.L.L.C.
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                           -and-

                           James G. Powers (NE Bar No. 17780)
                           (Pro Hae Vice Pending)
                           Maryl C. Sattler (NE Bar No. 25869)
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                                   msattler@mcgrathnorth.com

                           Attorneys for Gavilon Grain, LLC




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                                                            ~·c~
            IN THE cmCUIT COURT OF PHILLIPS COUNffl:>~ &-BlOi~SAS
                             CIVIL DIVISION
                                                   .               c~UfitcLERK
K & A SEALY FARMS, an Arkansas General Partnersh!W\WPS                           Jl,C.
C & A HEIDELBERGER FARMS, an Arkansas General bj_
Partnership; BROCATO & UNGER FARMS, an Arkansas
General Partnership; P ~ FARMS, an Arkansas General
Partnership; DAYTON PHARR FARMS, an Arkansas
General Partnership; and C & D FARMS, an Arkansas
General Partnership                                                       PLAINTIFFS

vs.
ROBERT RHODES AND GAVILON
GRAIN,LLC                                                                 DEFENDANTS

                                         COMPLAINT

       COME NOW Plaintiffs, by and through their attorney, Donald E. Knapp, Jr., and for

their Complaint against Defendants, state:

       I.      JURISDICTION AND VENUE

       1. PlaintiffK & A Sealy Farms is an Arkansas General Partnership having its principal

place of business in.Phillips County, Arkansas.

       2. Plaintiff C & A Heidelberger Farms is an Arkansas General Partnership having its

principal place of business in Phillips County, Arkansas.

       3. Plaintiff Brocato & Unger Farms is an Arkansas General Partnership having_its

principal place of business in Phillips County, Arkansas.

       4. Plaintiff Pharr Farms is an Arkansas General Partnership having its principal place of

business in Arkansas County, Arkansas.

        5. Plaintiff Dayton Pharr Farms is an Arkansas General Partnership having its principal

place of business in Jefferson County, Arkansas.
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        6. Plaintiff C & D Farms is an Arkansas General Partnership having its principal place of

business in Jefferson County, Arkansas.

        7. Defendant Robert Rhodes is now and has at all times relevant hereto been a resident

and citizen of Jefferson County, Arkansas.

        8. Defendant Gavilon Grain, LLC, is a foreign limited liability company conducting

business in the State of Arkansas.

        9. The events complained of herein occurred in Phillips County, Arkansas and Jefferson

County, Arkansas.

        10. Jurisdiction is proper in this Court.

        11. Venue is proper in this Court pursuant to A.C.A. § 16-55-213 and A.C.A. § 16-60-

 101.

        II.     FACTS

        12. Paragraphs one (1) through eleven ( 11) are incorporated herein by reference as if set

 forth word for word.

        13. Plaintiffs, each of them, are Arkansas general partnerships are agricultural entities

· engaged in soybean production in the State of Arkansas.

        14. Defendant Robert Rhodes is employed by Defendant Gavilon Grain, LLC.

        15. Defendant Gavilon Grain, LLC is engaged in the business of purchasing grain from

 agricultural producers in several states, including the State of Arkansas.

         16. Throughout the 2018 crop year, Gavilon Grain, LLC, issued multiple damage

 grading sheets stating the amount of dockage producers would be assessed based upon the

 quality of soybeans delivered.
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      _17. Beginning in early 2018 and continuing through the soybean harvest of 2018,

Gavilon Grain, LLC continued to issued damage grading sheets with increasing dollar amounts

per damage amount for the purpose and intent of manipulating grain prices paid for crop from

producers.

       18. At the point in time during the 2018 soybean harvest, Plaintiff's representatives

separately contacted Defendant Robert Rhodes and specifically asked if Gavilon Grain, LLC

would pay Plaintiffs for their soybeans according to the previously issued damage grading sheets

as opposed to the most recently distributed damage grading sheet.

       19. Upon each of the above referenced inquiries, Defendant Robert Rhodes specifically

told representatives from each Plaintiff that, "Yes, we will pay you for your soybeans according

to the earlier damage grading sheets rather than the most recent."

       20. The earlier issued grading sheets priced damage for bushel at a much lower rate the

damage grading sheet issued during harvest.

       21. At all times relevant hereto, Defendant was an agent and employee of Gavilon Grain,

LLC and Plaintiffs reaso~ble relied on statements made by Defendant Robert Rhodes.

       22. After delivery, Defendant Gavilon Grain, LLC paid Plaintiffs according to the most
                                                             I

recent damage grading sheets, as opposed to the earlier issued grading sheet as stated by

Defendant Robert Rhodes.

        III.   COUNT I -DECEIT

        23. Paragraphs one (1) through twenty-two (22) are incorporated herein by reference as

if set forth word for word.

        24. Defendants are liable to Plaintiffs for Deceit as follows:
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       a Defendant Robert Rhodes falsely told Plaintiffs Defendant Gavilon Grain, LLC would

pay them for their soybeans according to the previously issued soybean damage grading sheet;

and

       b. Defendant Robert Rhodes Iaiew or reasonably should have known the statements be

made to Plaintiffs were false; and

       c. Defendant Robert Rhodes knew Plaintiffs would rely on his statements and deliver

their _soybeans to Defendant Gavilon Grain, LLC; and

       d P~aintiffs did rely on Defendant Robert Rhodes statements and did deliver their

soybeans to Defendant Gavilon Grain, LLC; and

       e. As a result of Defendant Robert Rhodes deceit, Plaintiffs sustained damages in the

amounts of:

               1. K & A Farms: $9,818.86;

               2. C & A Farms: $24,151.67;

               3. Brocato & Unger Farms: $48,447.67;

               4. Pharr Farms: $113,000.00;

               5. Dayton Pharr Farms: $115,000.00; and

               6. C & D Farms: $10,769.70.

        25. The acts of Defendant Robert Rhodes are imputed to Defendant Gavilon Grain, LLC

through Respondeat Superior.

        IV.    COUNTII-NEGLIGENCE

        26. Paragraphs one (1) through twenty-five (25) are incorporated herein by reference as

if set forth word for word.

        27. Defendant Gavilon Grain, LLC is liable to Plaintiffs for negligence as follows:
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       a. Defendant Robert Rhodes was, at all times relevant hereto, an employee of Defendant

Gavilon Grain, LLC; and

       b. Defendant Gavilon Grain, LLC had a duty to supervise Defendant Robert Rhodes;

       c. Defendant Gavilon Grain, LLC breached its duty by allowing Defendant Robert

Rhodes to engage in dishonest and deceitful behavior towards its customers; and

       d. As a result of the negligence of Gavilon Grain, LLC, Plaintiffs have sustained

damages in the amount of:

               1. K & A Farms: $9,818.86;

              2. C & A Farms: $24,151.67;

              3. Brocato & Unger Farms: $48,447.67;

              4. Pharr Farms: $113,000.00;

               5. Dayton Pharr Farms: $115,000.00; and

               6. C & D Farms: $10,769.70.

       28. Plaintiffs demand trial by jury.

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray for judgment against

Defendant Robert Rhodes and Defendant Gavilon Grain, LLC, for Deceit and Negligence in the

amounts of:

               1. K & A Farms: $9,818.86;

               2. C & A Farms: $24,151.67;

               3. Brocato & Unger Farms: $48,447.67;

               4. Pharr Farms: $113,000.00;

               5. Dayton Pharr Farms: $115,000.00; and

               6. C & D Farms: $10,769.70.
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       In addition, Plaintiffs are entitled to punitive damages based on Defendant Rhodes

intentional conduct in the amount of $250,000.00, to be allocated pro rata; for their costs,

expenses, a reasonable attorney's fee and all other relief deemed appropriate by this Court.

                                                      Respectfully submitted,

                                                      KNAPP LAW FIRM


                                                        onald E. Knapp, Jr.
                                                      427 Cherry St. .
                                                      P.O. Box 630
                                                      Helena, AR 72342
                                                      (870) 338-3100
                                                      Donald@TheKnappFirm.com
                                                          Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 12 of 50
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  GAVILON ~                               Gavilon Grain, LLC
 PINE BLUFF AR                                                             Our Number:                       6055232
 509 ISLAND HARBOR MARINA RD                                               PRICED                           Purchase
 PINE BLUFF, AR 71602
 870/419-7008
                                                                           Contract Date:                    3/8/2018
                                                                             Customer No.                  0000367045
         s                                                                   Payment Terms:
         E K&ASEALYFARMS
         t  P.O. BOX96                                                       Broker:
                                                                             Broker No.:
         E                                                                   Delivery Terms:          DLV PINE BLUFF
         R       MARVELL            AR     72366
   SELLER AGREES TO AND CONFIRMS THE SALE OF THE FOLLOWING DESCRIBED COMMODITIES TO GAVILON GRAIN, LLC
   (BUYER) SUBJECT TO THE TERMS AND CONDITIONS STATED ON THE FACE AND BACK THEREOF. FAILURE TO ADVISE
   GAVILON GRAIN, LLC IMMEDIATELY BY WIRE OF ANY~QISCR£PAriC.Y...QBJECTI.Clli 'IO OR DISAGRE6fl.1~TWITH-SUCH--''. ·
             •
-'fERMs-m CONDITIONS SHALL BE AN ACCEPTANCE THEREOF.                         WEIGHTS:              DESTINATION
 COMMODITY: #1YSB YELLOW SOYBEANS                                           GRADES:                       DESTINATION
                                                                            TRANSPORTATION:                    TRUCK
 QUANTITY:         20,000.00              BU                                REFERENCE:


                        Delivery             Schedule       Futures   Futures         Basis                      BU
Status                   Dates                 Price        Month      Price          Price                    Priced
Priced            9/1/2018 - 9/30/2018         $10.27000    Nov-18    $10.40000      -$0.13000                20,000.00




                                                                                               ....   ~




 Buyer's scale of discounts at time of delivery to apply.      Total Contracted BUSHELS                     20,000.00
 Rules to apply: NGFA




BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SEUER. BUYER'S SCHEDULE OF
DISCOUNTS TO APPLY. SELLER GUARANTEES GRAIN U.S. GROWN. IF PRICE OF GRAIN IS ON A PREMIUM BASIS, CONTRACT TO BE
PRICED OR SPREAD PRIOR TO THE LAST TRADING DAY PRECEDING THE FIRST DELIVERY DAY OF THE FUTURES CONTRACT.




                                                                                                                Date
                              Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 14 of 50
                                                                 TERMS AND CONDITIONS
         Except as modified or limited by the terms and conditions stated herein, the Contract shall be governed by and construed in accordance with the
         applicable rules and regulations of the exchange, board or association designated on the face hereof, or, if none is designated or Seller is not a
         member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
         hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Uniform Commercial Code.
         Seller warrants to Buyer that all grain sold and.. delivered hereunder will be of good, sound, dry and merchantable quality in accordance with the
         grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
         part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning of the Federal Food, Drug
         and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act, be introduced into interstate
         commerce; that neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
         state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
         encumbrances, security interests, claims and penalties of any kind and nature.
        In the event that a party hereto (the "Defaulting Party") becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
        trustee, custodian or liquidator of itself or any of Its property, or generally fails to pay its debts as they become due, or makes a general assignment
        for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
        creditors or any other relief under the Bankruptcy Code, Tille 11 of the United States Code, as amended or recodified from time to time, or under
        any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party'? may (i) immediately cancel this Contract and all
        other Contracts between the parties hereto, (ii) liquidate such cancelled Contracts in a commercially reasonable manner, and (iii) aggregate such
        liquidated amounts into a single liquidated settlement amount (the "SettlementAmount'? due, which shaH be due and payable two (2) business
        days after written notice by the Non-defaulting Party. In addition, the Norw:tefaulting Party may set-Qffany amounts owed by the DefatJlting Party to
        the Non-defaulting Party under any other agreements between the parties against any Settlement Amount owed by the Nen-defaultirig Party to the
        Defaulting Party hereunder.
        The parties agree that each of them is a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
        Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101 (25). The payments
        and transfers described herein shall constitute "Settlement Payments" or "Margin Payments" as set forth in 11 U.S.C. Sections 101(51A) and (38).
        Each Party consents to the recording of all telephone conversations between its representative and the representatives of the other Party.

        This Contract is made on the basis of freight rates in effect on the date hereof. Any increase in freight rates taking effect before the full performance
        of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
        shipment.
        All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
        reasonable alternate place of delivery to facilitate Seller's performance of this Contract but shall have no obligation to do so. Any increased shipping
        charges incurred under this provision shall be for Seller's account and any reductions in shipping charges shall be for Buyer's account; provided
        however, If the designated alternate dellvery points are solely for Buyer's convenience, Increase shipping charges shall be for Buyer's account.

        Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

        Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
        Buyer's performance hereunder, or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specified,
        shall be exC\Jsed where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
        lack of available storage space, equipment breakdown, labor trouble, govemmental regulations, transportation difficulties, embargoes, civil
        disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
      This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive s.tatement of the
_ _-tefl'lmMm:it-ee~·iti·cmUlf:..tbJll!ir agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
   -7nsofar asffley might in-anyi?.l'D'T>"1>fliict-with--any terms-er co~tions.of Seller'S-confirmation. __ __            _ _____ .
                                                                                                                                      .      -   ~~.~.~   -- --- ------.
        There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
        60-250.4 and 41 C.F.R. para. 60-741.4 to extent the incorporation thereof is required by or necessary for compliance with applicable federal laws,
        regulations or orders. As used in such clauses, "contractor'' shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order
        incorporates by reference the EEO Clause contained in 41 C.F.R. Sections 60-1.4, 60-741.5, and 60-250.5.
        CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller arising under this Contract shall be settled by arbitration
        which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
        in accordance with the rules of the National Grain and Feed Association [NGFA]. At the time notice of arbitration is served by either Buyer or Seller
        upon the other, (I) if either is ·a member of NGFA, the NGFAArbitration Committee shall serve as the arbitrator; (ii) if neither is a member of the
        NGFA, the American Arbitration Association shall serve as the arbitrator.
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  GAVILON ~                               Gavilon Grain, LLC
 PINE BLUFF AR                                                                 Our Number:                6052410
 509 ISLAND HARBOR MARINA RD                                                   FUTURE ONLY-HTA           Purchase
 PINE BLUFF, AR 71602
 870/419-7008
                                                                               Contract Date:            1/30/2018

           s                                                                       Customer No.          0000367045
           E   K&ASEALYFARMS                                                       Payment Terms:
           L   P.O. BOX 96                                                         Broker:
           L
           E                                                                       Broker No.:
           R   MARVELL               AR    72366                                   Delivery Terms:   DLV PINE BLUFF
 SELLER AGREES TO AND CONFIRMS THE SALE OF THE FOLLOWING DESCRIBED COMMODITIES TO GAVILON GRAIN; LLC
 (BUYER) SUBJECT TO THE TERMS AND CONDITIONS STATED ON THE FACE AND BACK THEREOF. FAILURE TO ADVISE
 GAVI.LQN..GRAIN.JJ.C IMMEDle,TELY BY WIRE OE ANY Dl&CREPANCY. OBJECTION TO_c_:>R Ol§!.,GR~5~l;N_T WITH SUCH________ _
 TERMS AND CONDITIONS SHALL BE AN ACCEPTANCE THEREOF.                     WEIGHTS:                  DESTINATION
 COMMODITY: #1YSB YELLOW SOYBEANS                                                  GRADES:            DESTINATION
                                                                                   TRANSPORTATION:          TRUCK
 QUANTITY:       25,000.00                    BU                                   REFERENCE:
                                                                                   MARKET REGION:     PINE BLUFF AR
                       Delivery              Schedule         Futures     Futures           Other             BU
Status                  Dates                  Price          Month        Price             Fees        Scheduled
Unpriced       8/20/2018 - 9/14/2018           $0.00000       Nov-18      $10.16000      -$0.05000          25,000.00




 Buyer's scale of discounts at time of delivery to apply.        Total Contracted BUSHELS                 25,000.00
                                                            TO BE PRICED DURING AN ACTIVE SESSION OF THE APPLICABLE
 Rules to apply: NGFA                                       EXCHANGE (CBOT/KBOT/MGE) PRIOR TO THE SECOND TO LAST
                                                            TRADING DAV PRECEDING THE FIRST NOTICE DAV
FUTURES FIRST CONTRACT HTA FEE-.05
BASIS TO BE SET BEFORE DELIVERY




BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER. BUYER'S SCHEDULE OF
DISCOUNTS TO APPLY. SELLER GUARANTEES GRAIN U.S. GROWN. IF PRICE OF GRAIN IS ON A PREMIUM BASIS, CONTRACT TO BE
PRICED OR SPREAD PRIOR TO THE LAST TRADING DAY PRECEDING THE FIRST DELIVERY DAY OF THE FUTURES CONTRACT.


Confir                      d:                                Gavilon Grain, LLC

                           YFARMS               Date                    ~G~                             , .. ~o- 1S
                                                                                                               Date
                              PLEASE SIGN ONE COPY AND RETURN TO ABOVE A              RESS.
                      Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 16 of 50
                                                         TERMS AND CONDITIONS
Except as modified or limited by the terms and conditions stated herein, the Contract shall be governed by and construed In accordance with the
applicable rules and regulations of the exchange, board or association designated on the face hereof, or, if none is designated or Seller is not a
member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Uniform Commercial Code.
Seller warrants to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality in accordance with the
grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning of the Federal Food, Drug
and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act. be introduced into interstate
commerce: that neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
encumbrances, security interests, claims and penalties of any kind and nature.
In the event that a party hereto (the "Defaulting Party") becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
trustee, custodian or liquidator of itself or any of its property, or generally fails to pay its debts as they become due, or makes a general assignment
for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
creditors or any other relief under the Bankruptcy Code, Title 11 of the United States Code, as amended or recodified from time to time, or under
any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party") may (i) immediately cancel this Contract and all
other Contracts between the parties hereto, (ii) liquidate such cancelled Contracts in a commercially reasonable manner, and (iii) aggregate such
liquidated amounts into a single liquidated settlement amount (the "Settlement Amount") due, which shall be due and payable two (2) business
days after written notice by the Non-defaulting Party. In addition, the~Non-defaulting Party may set-off any amounts owed by the Defaulting Party to
the Non-defaulting Party under any other agreements between the parties against anySettlementAmount owed by the Non-defaulting Party to the
Defaulting Party hereunder.
The parties agree that each of them is a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101(25). The payments
and transfers described herein shall constitute "Settlement Payments" or "Margin Payments" as set forth in 11 U.S.C. Sections 101(51A) and (38).
Each Party consents to the recording of all telephone conversations between its representative and the representatives of the other Party.

This Contract is made on the basis of freight rates In effect on the date hereof. Any increase in freight rateo taking effect boforo the full performance
of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
shipment.
All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
reasonable alternate place of delivery to facilitate Seller's performance of this Contract but shall have no obligation to do so. Any increasep shipping
charges incurred under this provision shall be for Seller's account and any reductions in shipping charges shall be for Buyer's account; provided
however, if the designated alternate delivery points are solely for Buyer's convenience, increase shipping charges shall be for Buyer's account.

Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
Buyer's performance hereunder, or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specified,
shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Bµyer's control, including without limitation
lack of available storage space, equipment breakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
terms and conditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
i"sefar ae-they--might-ifl--any way conflict-with-anY-Wf!TIS~nditions.of Seller's confirmation.__ _ __________

There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
60-250.4 and 41 C.F.R. para. 60-741.4 to extent the incorporation thereof is required by or necessary for compliance with applicable federal laws,
regulations or orders. As used in such clauses, "contractor" shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order
incorporates by reference the EEO Clause contained In 41 C.F.R. Sections 60-1.4, 60-741.5, and 60-250.5.
CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller arising under this Contract shall be settled by arbitration
which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
in accordance with the rules of the National Grain and Feed Association [NGFA]. At the time notice of arbitration is served by either Buyer or Seller
upon the other, (I) if either is a member of NGFA, the NGFAArbitration Committee shall serve as the arbitrator; (ii) if neither is a member of the
NGFA, the American Arbitration Association shall serve as the arbitrator.
                   Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 17 of 50



  GAVILON ~                               Gavilon Grain, LLC
 PINE BLUFF AR                                                                    Our Number:                     6052416
 509 ISLAND HARBOR MARINA RD                                                      FUTURE ONLY-HTA               Purchase
 PINE BLUFF, AR 71602
 870/419-7008
                                                                                  Contract Date:                2/1.2/2018

           s                                                                        Customer No.                0000367045
           E   K&ASEALY FARMS                                                       Payment Terms:
           L   P.O. BOX96                                                           Broker:
           L
           E                                                                        Broker No.:
           R   MARVELL             AR      72366                                    Delivery Terms:        DLV PINE BLUFF
 SELLER AGREES TO AND CONFIRMS THE SALE OF THE FOLLOWING DESCRtBED COMMODITIES TO GAVILON GRAIN, LLC
 (BUYER) SUBJECT TO THE TERMS AND CONDITIONS STATED ON THE FACE AND BACK THEREOF. FAILURE TO ADVISE
 GAVILON_ GRAl_t-1, ,hl,.C lfy1MEDIATELY BY WIRE Qf .ANY DISCRE;PAt-JCY, QBJ~~JIQ_N TO_ ORDISAGREEM!;NT \/IQil:i.SJ}CH _ . , __ .
 TERMS AND CONDITIONS SHALL BE AN ACCEPTANCE THEREOF.                     . .        WEIGHTS:       .     DESTINATION
 COMMODtTY:· #1YSB-'YelLOW SOYl31:ANS- ·-- ---- ·--- · - - --·- - · ---··GAADE-S:-                        DESTINATION
                                                                                     TRANSPORTATION:                TRUCK
 QUANTITY:       20,000.00                     BU                                    REFERENCE:
                                                                                     MARKET REGION:       PINE BLUFF AR
                       Delivery              Schedule          Futures       Futures           Other                  BU
Status                  Dates                  Price           Month          Price            Fees              Scheduled
Unpriced         9/1/2018 - 9/30/2018          $0.00000         Nov-18       $10.10000      -$0.03000               20,000.00




 Buyer's scale of discounts at time of delivery to apply.          Total Contracted BUSHELS                      20,000.00
 Rules to apply: NGFA                                       TO BE PRICED DURING AN ACTIVE SESSION OF THE APPLICABLE
                                                            EXCHANGE (CBOT/KBOT/MGE) PRIOR TO THE SECOND TO LAST
                                                            TRADING DAY PRECEDING THE FIRST NOTICE DAY
HTA FEE-.03
SET BASIS BEFORE DLV




BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER. BUYER'S SCHEDULE OF
DISCOUNTS TO APPLY. SELLER GUARANTEES GRAIN U.S. GROWN. IF PRICE OF GRAIN IS ON A PREMIUM BASIS, CONTRACT TO BE
PRICED OR SPREAD PRIOR TO THE LAST TRADING DAY PRECEDING THE FIRST DELIVERY DAY OF THE FUTURES CONTRACT.


                                                               Gavilon Grain, LLC

                                                                             ((.         ~                    2- J2.• I&
                                                                                                                      Date
                     Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 18 of 50
                                                         TERMS AND CONDITIONS
Except as modified or limited by the terms and conditions stated herein, the Contract shall be governed by and construed in accordance with the
applicable rules and regulations of the exchange, board or association designated on the face hereof, or, if none is designated or Seller is not a
member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Uniform Commercial Code.
Seller warrants to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality in accordance with the
grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning of the Federal Food, Drug
and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act. be introduced into interstate
commerce; that neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
encumbrances, security interests. claims and penalties of any kind and nature.
In the event that a party hereto (the "Defaulting Party") becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
trustee, custodian or liquidator of itself or any of its property, or generally fails to pay Its debts as they become due, or makes a general assignment
for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
creditors or any other relief under the Bankruptcy Code, Title 11 of the United States Code, as amended or recodified from time to time, or under
any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party") may (i) immediately cancel this Contract and all
other Contracts between the parties hereto, (ii) liquidate such cancelled Contracts in a commercially reasonable manner, and (iii) aggregate such
liquidated amounts into a single liquidated settlement amount (the "Settlement Amount") due, which shall be due and payable two (2) business
days after written notice by the Non-defaulting Party. In addition, the Non-defaulting Party may set-off any amounts 0""8d by the Defaulting Party to
the Non-defau~ing Party under any other agreements between the parties against any Settlement Amount owed by the Non-defaulting Party to the
Defaulting Partyhereunder.                                                                                  .                             .
The parties agree that each of them is a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101 (25). The payments
and transfers described herein shall constitute "Settlement Payments" or "Margin Payments" as set forth in 11 U.S.C. Sections 101 (51A) and (38).
Each Party consents to the recording of all telephone conversations between its representative and the representatives of the other Party.

This Contract is made on the basis of freight rates in effect on the date hereof. Any increase in freight rates taking effect before the full performance
of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
shipment.
All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
reasonable alternate place of delivery to facilitate Seller's performance of this Contract but shall have no obligation to do so. Any increased shipping
charges incurred under this provision shall be for Seller's account and any reductions in shipping charges shall be for Buyer's account; provided
however, if the designated alternate delivery points are solely for Buyer's convenience, increase shipping charges shall be for Buyer's account.

Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
Buyer's performance hereunder. or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specified,
shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
lack of available storage space, equipment breakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
terms and conditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
insofar as..tbe¥-Jnigtllin.a!l¥-WB.Y _conflictwilh..any_teonaor~ditiorn! of.SeHer'sconfirmation,--·--_______ . . --· _ · ___ - •·                ----- ···--·
There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
60-250.4 and 41 C.F.R. para. 60-741.4 to extent the incorporation thereof is required by or necessary for compliance with applicable federal laws,
regulations or orders. As used In such clauses, "contractor'' shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order
incorporates by reference the EEO Clause contained in 41 C.F.R. Sections 6()c.1.4, 60-741.5, and 6()c.250.5.
CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller arising under this Contract shall be settled by arbitration
which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
in accordance with the rules of the National Grain and Feed Association [NGFA]. At the time notice of arbitration is served by either Buyer or Seller
upon the other, (I) if either is a member of NGFA, the NG FA Arbitration Committee shall serve as the arbitrator; (ii) if neither is a member of the
NGFA, the American Arbitration Association shall serve as the arbitrator.
                            Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 19 of 50


       GAVILON ~                               Gavilon Grain, LLC
      PINE BLUFF AR                                                                 Our Number:                     6052413
      509 ISLAND HARBOR MARINA RD                                                   FUTURE ONLY-HTA              Purchase
      PINE BLUFF, AR 71602
      870/419-7008
                                                                                    Contract Date:                2/9/2018

                s                                                                       Customer No.             0000367045
                E   K & A SEALY FARMS                                                   Payment Terms:
                L   P.O. BOX96                                                          Broker:
                L
                E                                                                       Broker No.:
                R   MARVELL             AR      72366                                   Delivery Terms:      DLV PINE BLUFF
    SELLER AGREES TO AND CONFIRMS THE SALE OF THE FOLLOWING DESCRIBED COMMODITIES TO GAVILON GRAIN, LLC
    (BUYER) SUBJECT TO THE TERMS AND CONDITIONS STATED ON THE FACE AND BACK THEREOF. FAILURE TO ADVISE
    GAVILON GRAIN, LLC IMMEDIATELY BY WIRE OF ANY DISCREPANCY, OBJECTION TQ OB_ QISt,GREEMeNI,WIJH.,$l,ICJ;L_._ . -·-
    TERMS P.NO CONDtTtONS SHALL BE AffACCEPTAffCETHEREoF.····- --- ..      WEIGHTS:            DESTINATION
- - GOMMODl1¥. #1¥-6B VEblOW S8¥-BEANS                                     GRADES:             OE.STIN~·,.,.:rP>IO_,N_ __
                                                                           TRANSPORTATION:                TRUCK
    QUANTITY:    5,000.00                BU                                REFERENCE:
                                                                           MARKET REGION:      PINE BLUFF AR
                      Delivery           Schedule        Futures    Futures         Other                   BU
   Status              Dates               Price        Month         Price         Fees           Scheduled
     Unpriced         9/1/2018 - 9/30/2018          $0.00000       Nov-18      $10.10000      -$0.03000               5,000.00




      Buyer's scale of discounts at time of delivery to apply.        Total Contracted BUSHELS                      5,000.00
      Rules to apply: NGFA                                       TO BE PRICED DURING AN ACTIVE SESSION OF THE APPLICABLE
                                                                 EXCHANGE (CBOT/KBOT/MGE) PRIOR TO THE SECOND TO LAST
                                                                 TRADING DAY PRECEDING THE FIRST NOTICE DAY
     '-------------------...J
     HTAFEE-.03
     SET BASIS BEFORE DLV




     BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER. BUYER'S SCHEDULE OF
     DISCOUNTS TO APPLY. SELLER GUARANTEES GRAIN U.S. GROWN. IF PRICE OF GRAIN IS ON A PREMIUM BASIS, CONTRACT TO BE
     PRICED OR SPREAD PRIOR TO       ST TRADING DAY PRECEDING THE FIRST DELIVERY DAY OF THE FUTURES CONTRACT.


                                                                   Gavilon Grain, LLC
                                                                            St. ~                         2-0~-re
                            A SEALY FARMS               Date                  ~OUNG                                    Date
                                      PLEASE SIGN ONE COPY AND RETURN TO ABOVE ADDRESS.
                          Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 20 of 50
                                                             TERMS AND CONDITIONS
     Except as modified or limited by the terms and conditions stated herein, the Contract shall be governed by and construed in !ilCCOrdance with the
     applicable rules and regulations of the exchange, board or association designated on the face hereof, or, if none is designated or Seller is not a
     member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association In effect on the date
     hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Uniform Commercial Code.
    Seller warrants to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality in accordance with the
    grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
    part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning of the Federal Food, Drug
    and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act, be introduced Into Interstate
    commerce; that neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
    state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
    encumbrances, security interests, claims and penalties of any kind and nature.
     In the event that a party hereto (the "Defaulting Party") becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
    trustee, custodian or liquidator of itself or any of its property, or generally fails to pay its debts as they become due, or makes a general assignment
    for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
    creditors or any other relief under the Bankruptcy Code, TIiie 11 of the United States Code, as amended or recodified from time to time, or under
    any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party") may (i) immediately cancel this Contract and all
    other Contracts between the parties hereto, (ii) liquidate such cancelled Contracts in a commercially reasonable manner, and (iiQ aggregate such
    liquidated amounts into a single ~iquidated settlement amount (the "Settlement Amount"} due, which shall be due and payable two (2) business
    days after written notice by the Non-defaulting Party. In addition, the Non-defaulting Party may set-off any amounts owed by the. Defaulting Party to
    the Non-g,efaulting Party under any other agreements between the parties against any Settlement Amount owed by the Non-defaulting Party to the
    Defaulting Party hereunder.                                                                        "
    The parties agree that each of them is a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
    Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101(25). The payments
    and transfers described herein shall constitute "Settlement Payments" or "Margin Payments" as set forth in 11 U.S.C. Sections 101 (51A) and (38).
    Each Party consents to the recording of all telephone conversations between its representative and the representatives of the other Party.
    This Contract is made on the basis of freight rates in effect on the date hereof. Any increase in freight rates taking effect before the full performan·ce
    of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
    shipment.
    All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
    reasonable alternate place of delivery to facilitate SEiller's performance of this Contract but shall have no obligation to do so. Any increased shipping
    charges incurred under this provision shall be for Seller's account and any reductions in shipping charges shall be for Buyer's aCOQImt; provided
    however, if the designated alternate delivery points are solely for Buyer's convenience, increase shipping charges shall be for Buyer's account.

    Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

    Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
    Buyer's performance hereunder, or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specified,
    shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
    lack of available storage space, equipment breakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
    disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
        This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
··-· . _terms and conditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
        insofarasthey·mfghtinanywaycol'lflitfWithanytermsorconditions-ef:Seller'&-GO!lfirmatio!l.-- ___ . ___ . .... . ..•. .•                  _ •...   __
    There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
    60-250.4 and 41 C.F. R. para. 60-741.4 to exte.nt the incorporation thereof is required by or necessary for compliance with applicable federal laws,
    regulations or orders. As used in such clauses, "contractor'' shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order
    incorporates by reference the EEO Clause contained In 41 C.F.R. Sections 60-1.4, 60-741.5, and 60-250.5.
    CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller arising under this Contract shall be settled by arbitration
    which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
    in accordance with the rules of the National Grain and Feed Association [NGFAJ. At the time notice of arbitration Is served by either Buyer or Seller
    upon the other, (I) if either is a member of NGFA, the NGFAArbitratlon Committee shall serve as the arbitrator; (II) If neither is a member of the
    NGFA, the American Arbitration Association shall serve as the arbitrator.
                  Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 21 of 50



  GAVILON ~                                               Gavilon Grain, LLC
                                                                  CONRRMATIONOFPRJCING
 PINE BLUFF AR                                                   AND/OR ORIGINAL CONTRACT
 509 ISLAND HARBOR MARINA RD                                             AMENDMENT                    Our Number:                6052413
 PINE BLUFF, AR 71602                                                                                 FUTURE ONLY-HTA             Purchase
 870/419-7008
                                                                                                      Contract Date:               2/9/2018
          s                                                                                           Customer No.              0000367045
          E   K & A SEALY FARMS
          L   P.O. BOX96                                                                              Broker:
          L
          E                                                                                           Broker No.:
          R   MARVELL                         AR          72366                                       Delivery Terms:    DLV PINE BLUFF
THIS CONFIRMATION COVERS OUR UNDERSTANDING OF PRICING, AND/OR, OF AMENDMENT{$) IN PRIOR STIPULATIONS,
TERMS, OR CONDITIONS OF THE CONTRACT SO DESIGNATED. THE NEW TERMS ARE TO BE CONSIDERED AS PART OF THE
ORIGINAb CON+RAGT·ANO ARE MADE WHHTHeBEST·INTERESTSOF·BOTH-·PAR-'RES-f~MIND.-FAILUR-E'fS-ABVISE-GA\<ll-ON- ·
GRAIN, LLC IMMEDIATELY BY WIRE OF ANY DISCREPANCY, OBJECTION TO OR DISAGREEMENT WITH .SUCH TERMS AND
CONDITIONS SHALL BE AN ACCEPTANCE THEREOF.
 COMMODITY: #1YSB YELLOWSOYSeANS--·~                                'NEIGHT~S·~---          DESTJNATlO.N_. _ _
 TOTAL QUANTITY:               5,000.00                             GRADES:                 DESTINATION
                                                                    TRANSPORTATION:               TRUCK.
 PRICED QUANTITY:              5,000.00
                                                                    REFERENCE:
 UNPRICED QUANTITY:                0.00
              Pricing                 Delivery                  Schedule Futures Futures               Basis        BU              BU
              Date                     Dates                      Price   Month   Price                                             Pric d
 Priced       10/2/2018       9/1/2018 - 9/30/2018                $9.42000   Nov-18     $10.10000     -$0.68000          0.00        5,000.00




                       .   -···········,-··· ....•   ...-•--·   -------
 Buyer's scale of discounts at time of delivery to apply.                             Total Priced BUSHELS                       5,000.00
 Rules to apply: NGFA


HTAFEE-.03
SET BASIS BEFORE DLV



BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER.

                                                                                Gavilon Grain, LLC
ConfK#~~~

,...,~~       ~   &        EALY FARMS
                                                           w!D-%-11'           ._'A~                ROBERT RHODES
                                                                                                                         ,..,~~)'6
                                        PLEASE SIGN ONE COPY AND RETURN TO ABOVE ADDRESS.
                            Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 22 of 50
                                                                 TERMS AND CONDITIONS
         Except as modified or limited by the tenns and conditions stated herein, the Contract shall be governed by and construed in accordance with the
         applicable rules and regulations of the exchange, board or association designated on the face hereof, or, if none is designated or Seller is not a
         member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
         hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Unifonn Commercial Code.
         Seller warrants to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality in accordance with the
         grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
         part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning of the Federal Food, Drug
         and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404. or 505 of the Act, be introduced into interstate
         commerce; that neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
         state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
         encumbrances, security interests, claims and penalties of any kind and nature.
          In the event that a party hereto (the "Defaulting Party") becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
          trustee, custodian or liquidator of itself or any of its property, or generally fails to pay its debts as they become due, or makes a general assignment
          for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
          creditors or any other relief under the Bankruptcy Code, Title 11 of the United States Code, as amended or recodified from time to time, or under
          any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party") may (i) immediately cancel this Contract and all
          other Contracts between the parties hereto, (iO liquidate such cancelled Contracts in a commercially reasonable manner, and (fii) aggregate such
         ·liquidated amounts into a ~ingle liquidated settlement amount (the "Settlement A_l!1ount") due, which shall be due and payable two (21 business
          days after written notice by the Non-defaulting Party. In addition, the Non-defaulting Party may set-off any amounts owed by the. Defaulting Party to
          the Non-defaulting Party under any other agreements between the parties against any Settlement Amount owed by the Non-defaulting Party to the
          Oe~~J~r:ig Pai:tv hereunder.
         The parties agree that each of them is a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
         Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101(25). The payments
         and transfers described herein shall constitute "S.ettlement Payments" or "Margin Payments" as set forth in 11 U.S.C. Sections 101(51A) and (38).
         Each Party consents to the recording of .all telephone conversations between its representative and the representatives of the other Party.

         This Contract is made on the basis of freight rates in effect on the date hereof. Any increase in freight rates taking effect before the full performance
         of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
         shipment
         All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
         reasonable alternate place of delivery to facilitate Seller's perfonnance of this Contract b1,1t shall have no obligation to do so. Any increased shipping
         charges incurred 1,1nder this provision shall be for Seller's account and any reductions in shipping charges shall be for Buyer's account; provided
         however, if the designated alternate delivery points are solely for Buyer's convenience, increase shipping charges shall be for Buyer's account.

         Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

         Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
         Buyer's perfonnance hereunder, or any delay in s1,1ch perfonnance, including the acceptance of deliveries of grain on the date or dates specified,
         shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
         lack of available storage space, equipment breakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
         disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
         This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
         tenns and conditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
-- ---insofar-as-they-mighHn-any way-conflic:twith-any-terms--orconditions of-Seller's-eonflrmation.-· ·- - -- - · · ·-· · --- -··---•··· ··•-·--         ----
         There ~e hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
         60-250.4 and 41 C.F.R. para. 60-741.4 to extent the incorporation thereof is required by or necessary for compliance with applicable federal laws,
         regulations or orders. As used In such clauses, "contractor" shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order
         incorporates by reference the EEO Clause contained in 41 C.F.R. Sections 60-1.4;60-741.5, and 60-250.5.
         CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller arising under this Contract shall be settled by arbitration
         which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
         in accordance with the rules of the National Grain and Feed Association [NGFA). At the time notice of arbitration is served by either Buyer or Seller
         upon the other, (I) if either is a member of NGFA, the NGFAArbitration Committee shall serve as the arbitrator; (ii) if neither is a member of the
         NGFA, the American Arbitration Association shall serve as the arbitrator.
                        Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 23 of 50



       GAVILON ~                               Gavilon Grain, LLC
                                                        CONFIRMATION OF PRICING
      PINE BLUFF AR                                    AND/OR ORIGINAL CONTRACT
      509 ISLAND HARBOR MARINA RD                             AMENDMENT                    Our Number:                6052416
      PINE BLUFF, AR 71602                                                                 FUTURE ONLY-HTA             Purchase
      870/419-7008
                                                                                           Contract Date:              2/12/2018
               s                                                                           Customer No.              0000367045
               E   K&ASEALYFARMS
               L   P.O. BOX 96                                                             Broker:
               L
               E                                                                           Broker No.:
               R   MARVELL             AR       72366                                      Delivery Terms:    DLV PINE BLUFF
       THIS CONFIRMATION COVERS OUR UNDERSTANDING OF PRICING, AND/OR, OF AMENDMENT($) IN PRIOR STIPULATIONS,
        TERMS, OR CONDITIONS OF THE CONTRACT SO DESIGNATED. THE NEW TERMS ARE TO BE CONSIDERED AS PART OF THE
        ORIGINAL CONTRACT AND ARE MADE WITH THE BEST INTERESTS OF BOTH PARTIES IN MIND. FAILURE TO ADvtSE GAVILON
- ·----GRAtN;ttCIMMEDIATEl;YBYWIBE OEANY DISCREPANCY;oB"JECTION TO·ORDISAGREEMENTWITH SUCHTERMS-ANIT ··
        CONDITIONS SHALL BE AN ACCEPTANCE THEREOF.
         COMMODITY: #1YSB YELLOW SOYBEANS                                WEIGHTS:                   DESTINATION
         TOTAL QUANTITY:             20,000.00                           GRADES:                    DESTINATION
         PRICED QUANTITY:            20,000.00                           TRANSPORTATION:                   TRUCK
      UNPRICED QUANTITY:                       0.00                                   REFERENCE:
                   Pricing         Delivery           Schedule Futures Futures              Basis       BU-              BU
                   Oat              D t s               Price     nth   Price                                            Price
      Priced       10/3/2018   9/1/2018 - 9/30/2018     $9.42000   Nov-18     $10.10000    -$0.68000          0.00       20,000.00




      Buyer's scale of discounts at time of delivery to apply.              Total Priced BUSHELS                     20,000.00
      Rules to apply: NGFA


     HTAFEE-.03
     SET BASIS BEFORE DLV




     BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER.


     Conftnn;; Acknowled~                                             Gavilon Grain, LLC

     ...., ~_y:~
             s                 YFARMS
                                                 ,..,IJ>+l'i           ./A~
                                                                     ,•.  ROBERT RHODES
                                  PLEASE SIGN ONE COPY AND RETURN TO ABOVE ADDRESS.
                   Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 24 of 50
                                                         TERMS AND CONDITIONS
  Except as modified or limited by the terms and conditions stated herein, the Contract shall be governed by and construed in accordance with the
  applicable rules and regulations of the exchange, board or association designated on the face hereof, or, if none is designated or Seller is not a
  member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
  hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Uniform Commercial Code.
 Seller warrants to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality in accordance with the
 grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
 part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning of the Federal Food, Drug
 and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act, be introduced into interstate
 commerce; that neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
 state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
 encumbrances, security interests, claims and penalties of any kind and nature.
 In the event that a party hereto (the "Defaulting Party") becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
 trustee, custodian or liquidator of itself or any of its property, or generally fails to pay its debts as they become due, or makes a general assignment
 for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
 creditors or any other relief under the Bankmptcy Code, Trtle 11 of the United States Code, as amended or recodified from time to time, .or under
 any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party") may (i) immediately cancel this Contract and all
 other Contracts between the parties hereto, (ii) liquidate such cancelled Contracts in a commercially reasonable manner, and (iii) aggregate such
 liquidated amounts into a single liquidated settlement amount (the "Settlement Amount") due, which shall be due and payable two (2) business
 days after writti,m notic;e by ~ Non.-def~u.J1ing f'a$', Jnaddition, the Non-defaulting Party may set-off any amounts owed by the Defaulting Party to
 the Non-defaulting Party under any otne'r agreements between the parties against iiny Settlement Amount owed by the Non-defaulting Party to the
 Defaulting Party hereunder.
 The parties agree that each of them is a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
 Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101(25). The payments
 and transfers described herein shall constitute "Settlement Payments" or "Margin Payments" as set forth in 11 U.S.C. Sections 101 {51A) and (38).
 Each Party consents to the recording of all telephone conversations between its representative and the representatives of the other Party.

 This Contract is made on the basis of freight rates in effect on the date hereof. Any increase in freight rates taking effect before the full performance
 of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
 shipment.
 All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
 reasonable alternate place of delivery to facilitate Seller's performance of this Contract but shall have no obligation to do so. Any increased shipping
 charges incurred under this provision shall be for Seller's account and any reductions in shipping charges shalt be for Buyer's account; provided
 however, if the designated alternate delivery points are solely for Buyer's convenience, increase shipping charges shall be for Buyer's account.

 Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

 Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
 Buyer's performance hereunder, or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specified,
 shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
 lack of available storage space, equipment breakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
 disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
  This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
  terms and conditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
• insofar-as they-might in any way confli.ct with any terms or condi~on.i, of ~ME!!)!_confirrn1:1_tjQ!l: __ .....
 There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
 60-250.4 and 41 C.F.R. para. 60-741.4 to extent the incorporation thereof is required by or necessary for compliance with applicable federal laws,
 regulations or orders. As used in such clauses, "contractor'' shall mean the Seller hersunder. Unless otherwise exempt, this Purchase Order
 incorporates by reference the EEO Clause contained in 41 C.F.R. Sections 60-1.4, 60-741.5, and 60-250.5.
 CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller arising under this Contract shall be settled by arbitration
 which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
 in accordance with the rules of the National Grain and Feed Association [NGFAJ. At the time notice of arbitration is served by either Buyer or Seller
 upon the other, (I) if either is a member of NGFA, the NGFAArbitration Committee shall serve as the arbitrator; (ii) if neither is a member of the
 NGFA, the American Arbitration Association shall serve as the arbitrator.
                         Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 25 of 50


  GAVILON~                                    Gavilon Grain, LLC
 PINE BLUFF AR                                                                Our Number:               6055234
 509 ISLAND HARBOR MARINA RD                                                  PRICED                   Purchase
 PINE BLUFF, AR 71602
 870/419-7008
                                                                              Contract Date:            3/8/2018
                                                                                Customer No.          0000367046
         s                                                                      Payment Terms:
         E C &A FARMS
         L    P.O. BOX 96                                                       Broker:
         L                                                                      Broker No.:
         E
              MARVELL                                                           Delivery Terms:    DLV PINE BLUFF
         R                               AR   72366
 SELLER AGREES TO AND CONFIRMS THE SALE OF THE FOLLOWING DESCRIBED COMMODITIES TO GAVILON GRAIN, LLC
 (BUYER) SUBJECT TO THE TERMS AND CONDITIONS STATED ON THE FACE AND BACK THEREOF. FAILURE TO ADVISE
 GAVILON GRAIN, LLC IMMEDIATELY BY WIRE OFJI.NY DISCREPANCY. Ol;!JECTLQNTO QRDISAGREEMENT,WITH SUCH
 TERMS AND CONDITIONS SHA[L BE AN ACCEPTANCE THEREOF.-       . .        WEIGHTS:       .   DESTINATION
 COMMODITY: #1YSB YELLOW SOYBEANS                                              GRADES:              DESTINATION
                .    ----------   -·•
                                                                           ---TRANSPORTATION:·
 QUANTITY:          20,000.00                 BU                               REFERENCE:


                              Delivery             Schedule    Futures   Futures         Basis              BU
Status                         Dates                 Price     Month      Price          Price             Priced
Priced              9/1/2018 - 9/30/2018           $10.27000   Nov-18    $10.40000     -$0.13000          20,000.00




 Buyer's scale of discounts at time of delivery to apply.       · Tota1 Contracted· BUSHELS           -20,000.00-- -
 Rules to apply: NGFA




BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER. BUYER'S SCHEDULE OF
DISCOUNTS TO APPLY SELLER GUARANTEES GRAIN U.S. GROWN. IF PRICE OF GRAIN IS ON A PREMIUM BASIS, CONTRACT TO BE
PRICED OR SPREAD PRIOR TO THE LAST TRADING DAY PRECEDING THE FIRST DELIVERY DAY OF THE FUTURES CONTRACT.




                                                                                                            Date
                     Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 26 of 50
                                                         TERMS AND CONDITIONS
Except as modified or limited by the terms and conditions stated herein, the Contract shall be governed by and construed in accordance with the
applicable rules and regulations of the exchange, board or association designated on the face hereof, or, if none is designated or Seller is not a
member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Uniform Commercial Code.
Seller warrants to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality in accordance with the
grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning of the Federal Food, Drug
and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act, be Introduced into interstate
commerce; that neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
encumbrances, security interests, claims and penalties of any kind and nature.
In the event that a party hereto (the "Defaulting Party") becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
trustee, custodian or liquidator of itself or any ef its property, or generally fails to pay its debts as they become due, or makes a general assignment
for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
creditors or any other relief under the Bankruptcy Code, Title 11 of the United States Code, as amended or recodified from time to time, or under
any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party") may (i) immediately cancel this Contract and all
other Contracts between tlie parties hereto, Oil liquidate such cancelled Contracts in a commercially reasonable manner, and (iii) aggregate such
liquidated amounts into a single liquidated settlement amount (the "Settlement Amount'') due, which shall be due and payable two (2) business
days after written notice by the Non-defaulting Party. In addition, the Non-defaulting Party may setaoff any amo1,111ts owed by the Defaulting Party to
the Non-defaulting Party under any other agreements between the parties against any Settlement Amount owed by the N6n-defauiting Party to the
Defaulting Party hereunder.                                                                             ·
The parties agree that each of them is a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101(25). The payments
and transfers described herein shall constitute "Settlement Payments" or "Margin Payments" as set forth in 11 U.S.C. Sections 101(51A) and (38).
Each Party consents to the recording of all telephone conversations between Its representative and the representatives of the other Party.

This Contract is made on the basis of freight rates in effect on the date hereof. Any increase in freight rates taking effect before the full performance
of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
shipment.
All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
reasonable alternate place of delivery to facilitate Seller's performance of this Contract but shall have no obligation to do so. Any increased shipping
charges incurred under this provision shall be for Seller's account and any reductions in shipping charges shall be for Buyer's account; provided
however, if the designated alternate delivery points are solely for Buyer's convenience, increase shipping charges shall be for Buyer's account.

Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

Buyer reserves the right to apply off-grade grain al market difference without first notifying Seller.
Buyer's performance hereunder, or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specified,
shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
lack of available storage space, equipment breakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
terms and conditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
insofar as they might in any way conflict with any t~rms or conditions Qf Seller's confirmation.
There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
60-250.4 and 41 C.F.R. para. 60-741.4 to extent the incorporation thereof is required by or necessary for compliance with applicable federal laws,
regulations or orders. As used in such clauses, "contractor'' shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order
incorporates by reference the EEO Clause contained in 41 C.F.R. Sections 60-1.4, 60-741.5, and 60-250.5.
CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller arising under this Contract shall be settled by arbitration
which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
in accordance with the rules of the National Grain and Feed Association [NGFA]. At the time notice of arbitration is served by either Buyer or Seller
upon the other, (I) if either Is a member of NGFA, the NGFAArbitration Committee shall serve as the arbitrator; (ii) if neither is a member of the
NGFA, the American Arbitration Association shall serve as the arbitrator.
                     Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 27 of 50


  GAVILON ~                               Gavilon Grain, LLC
 PINE BLUFF AR                                                                  Our Number:                  6052411
 509 ISLAND HARBOR MARINA RD                                                    FUTURE ONLY-HTA            Purchase
 PINE BLUFF, AR 71602
 870/419-7008                                                                   Contract Date:              2/9/2018

           s                                                                       Customer No.           0000367046
           E   C & A FARMS                                                         Payment Terms:
           L   P.O. BOX 96                                                         Broker:
           ~                                                                       Broker No.:
           R   MARVELL               AR    72366                                   Delivery Terms:    DLV PINE BLUFF
  SELLER AGREES TO AND CONFIRMS THE SALE OF THE FOLLOWING DESCRIBED COMMODITIES TO. GAVIL0N GRAIN, LLC
  (BUYER) SUBJECT TO THE TERMS AND CONDITIONS STATED ON THE FACE AND BACK THEREOF. FAILURE TO ADVISE
  GAVILON GRAIN, LLC IMMEDIATELY BY WIRE OF ANY DISCB!;P~CY, OBJ,!;CTIP.H.IQ.OR..DJ.SA<;,REEMENTWl"fl:I S4JC!:!- -,-...c--- -
 leRMS-AND CONDI I IONS-SHitt™ARAC'eEPTAN'°CE THEREOF.             .       WEiGHTS:        .    DESTINATION
  COMMODITY: #1YSB YELLOW SOYBEANS                                         GRADES:              DESTINATION
                                                                           TRANSPORTATION:                 TRUCK
  QUANTITY:    30,000.00               BU                                  REFERENCE:
                                                                          MARKET REGION:        PINE BLUFF AR
                       Delivery              Schedule          Futures      Futures         Other                BU
Status                  Dates                  Price           Month         Price          Fees           Scheduled
Unpriced         9/1/2018 - 9/30/2018          $0.00000        Nov-18      $10.10000     -$0.03000              30,000.00




 Buyer's scale of discounts at time of delivery to apply.         Total Contracted BUSHELS                 30,000.00
 Rules to apply: NGFA                                        TO BE PRICED DURING AN ACTIVE SESSION OF THE APPLICABLE
                                                             EXCHANGE (CBOT/KBOT/MGE) PRIOR TO THE SECOND TO LAST
                                                             TRADING DAY PRECEDING THE FIRST NOTICE DAY
HTAFEE.03
BASIS TO BE SET BEFORE DLV




BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER. BUYER'S SCHEDULE OF
DISCOUNTS TO APPLY. SELLER GUARANTEES GRAIN U.S. GROWN. IF PRICE OF GRAIN IS ON A PREMIUM BASIS, CONTRACT TO BE
PRICED OR SPREAD PRIOR TO THE LAST TRADING DAY PRECEDING THE FIRST DELIVERY DAY OF THE FUTURES CONTRACT.



Confi~                                                         Gavilon?2     LLC        =            2-o'f-18
    C                        FARMS                    Date                   ~UNG                                 Date
    ...,___                     PLEASE SIGN ONE COPY ANO RETURN TO ABOVE ADDRESS.
                     Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 28 of 50
                                                         TERMS AND CONDITIONS
Except as modified or limited by the terms and conditions stated herein, the Contract shall be governed by and construed in accordance with the
applicable rules and regulations of the exchange, board or association designated on the face hereof, or, if none is designated or Seller is not a
member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Uniform Commercial Code.
Seller warrants to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality in ·accordance with the
grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning:of the Federal Food, Drug
and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act, be introduced into Interstate
commerce: that neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
encumbrances, security interests, claims and penalties of any kind and nature.
In the event that a party hereto (the "Defaulting Party") becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
trustee, custodian or liquidator of itself or any of its property, or generally fails to pay its debts as they become due, or makes a general assignment
for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
creditors or any other relief under the Bankruptcy Code, Title 11 of the United States Code, as amended or recodifled from time to time, or under
any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party'') may (Q immediately cancel this Contract and all
other Contracts between the parties hereto, (ii) fiquidate such cancelled Contracts in a commercially reasonable manner, and (iii) aggregate such
liquidated amounts into a single liquidated settlement amount (the "Settlement Amount") due, which shall be due and payable two (2) business
days after wriiten notice by the Non-defaulting Party. In addition, the Non-defaulting Party may set.:Off aily amounts _9wed by the Qefaulting Party to
the Non-defaulting Party under any other agreements between the parties against any Settlement Amount owed by the Non-defaulting Party to the
Defaulting Party hereunder.
The parties agree that each of them is a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101(25). The payments
and transfers described herein shall constitute "Settlement Payments" or "Margin Payments" as set forth in 11 U.S.C. Sections 101(51A) and (38).
Each Party consents to the recording of all telephone conversations between its representative and the representatives of the other Party.

This Contract is made on the basis of freight rates In effect on the date hereof. Any Increase in freight rates taking effect before the full performance
of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
shipment.
All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
reasonable alternate place of delivery to facilitate Seller's performance of this Contract but shall have no obligation to do so. Any increased shipping
charges incurred under this provision shall be for Seller's account and any reductions In shipping charges shall be for Buyer's account; provided
however, if the designated alternate delivery points are solely for Buyer's convenience, increase shipping charges shall be for Buyer's account

Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
Buyer's performance hereunder, or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specified,
shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
lack of available storage space, equipment breakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
terms and conditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
insofar as they might ina!!Y way.conflict with anr.terms or conditions of Seller's confirmation. _____ _
There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
60-250.4 and 41 C.F.R. para. 60-741.4 to extent the incorporation thereof is required by or necessary for compliance with applicable federal laws,
regulations or orders. As used in such clauses, "contractor'' shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order
incorporates by reference the EEO Clause contained in 41 C.F.R. Sections 60-1.4, 60-741.5, and 60-250.5.
CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller arising under this Contract shall be settled by arbitration
which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
in accordance with the rules of the National Grain and Feed Association [NGFA), At the time notice of arbitration Is served by either Buyer or Seller
upon the other, (I) if either is a member of NGFA, the NGFAArbitration Committee shall serve as the arbitrator; (ii) if neither is a member of the
NGFA, the American Arbitration Association shall serve as the arbitrator.
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  GAVILON                \7              Gavilon Grain, LLC
 PINE BLUFF AR                                                                   Our Number:                 6052415
 509 ISLAND HARBOR MARINA RD                                                     FUTURE ONLY-HTA           Purchase
 PINE BLUFF, AR 71602
 870/419-7008
                                                                                 Contract Date:            2/12/2018

           s                                                                       Customer No.            0000367046
           E   C &A FARMS                                                          Payment Terms:
           L   P.O. BOX 96                                                         Broker:
           L
           E                                                                       Broker No.:
           R   MARVELL              AR    72366                                    Delivery Terms:    DLV PINE BLUFF
 SELLER AGREES TO AND CONFIRMS THE SALE OF THE FOLLOWING DESCRIBED COMMODITIES TO GAVILON GRAIN, LLC
 (BUYER) SUBJECT TO THE TERMS AND CONDITIONS STATED ON THE FACE AND BACK THEREOF. FAILURE TO ADVISE
 GAVILON GRAIN, LLC IMMEDIATELY BYWIRE.OF ANY DISCREPANCY, OBJECTION TO-ORDISAGREEM5NT -\l\(l+J,tSUCH
 TERMS AND CONDITIONS SHALL BE AN ACCEPTANCE THEREOF.                WEIGHTS:         .   DESTINATION
 COMMODITY. #1YS8'-'fELtOW-SOYBEAN                                                 GRAD1::S:             DESTINATION
                                                                                   TRANSPORTATION:             TRUCK
 QUANTITY:       20,000.00                   BU                                    REFERENCE:
                                                                                   MARKET REGION:        PINE BLUFF AR
                        Delivery             Schedule           Futures      Futures        Other ·             BU
Status                   Dates                 Price            Month         Price         Fees            Scheduled
Unpriced         9/1/2018 - 9/30/2018         $0.00000          Nov-18      $10.10000    -$0.03000             20,000.00




 Buyer's scale of discounts at time of delivery   to apply.        Total Contracted BUSHELS                 20,000.00
 Rules to apply: NGFA                                         TO BE PRICED DURING.AN ACTIVE SESSION OF THE APPLICABLE
                                                              EXCHANGE (CBOT/KBOT/MGE) PRIOR TO THE SECOND TO LAST
                                                              TRADING DAY PRECEDING THE FIRST NOTICE DAY
'-H-TA_F_E_E-.03_ _ _ _ _ _ _ _ _ _ _ _ _ _ ___,

BASIS SET BEFORE DLV




BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER. BUYER'S SCHEDULE OF
DISCOUNTS TO APPLY. SELLER GUARANTEES GRAIN U.S. GROWN. IF PRICE OF GRAIN IS ON A PREMIUM BASIS, CONTRACT TO BE
PRICED OR SPREAD PRIOR TO THE LAST TRADING DAY PRECEDING THE FIRST DELIVERY DAY OF THE FUTURES CONTRACT.




                                                                                                          z.- 12.-,e
                               MS                 Date                   S E 0                                   Date
                                PLEASE SIGN ONE COPY AND RETURN TO ABOVE A ~
                       Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 30 of 50
                                                           TERMS AND CONDITIONS
  Except as modified or limited by the terms and conditions stated herein, the Contract shall be governed by and construed in accordance with the
  applicable rules and regulations of the exchange, board or association designated on the face hereof, or, if none is designated or Seller is not a
  member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
  hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Uniform Commercial Code.
  Seller warrants to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality in accordance with the
  grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
  part of this Contraet and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning of the Federal Food, Drug
  and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act, be introduced into interstate
  commerce: that neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
  state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
  encumbrances, security interests, claims and penalties of any kind and nature.
  In the event that a party hereto (the "Defaulting Party") becomes insolvent, or suffers or con!i9nts to or applies for the appointment of a receiver,
  trustee, custodian or liquidator of itself or any of its property, or generally fails to pay its debts as they become due, or makes a general assignment
  for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
  creditors or any other relief under the Bankruptcy Code, Title 11 of the United States Code, as amended or recodified from time to time, or under
  any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party'1 may (i) immediately cancel this Contract and all
  other Contracts between the parties hereto, (ii) liquidate such cancelled Contracts in a commercially reasonable manner, and (iii) aggregate such
  liquidated amounts into a single liquidated settlement amount (the "SettlementJ\mount") due, which shall be due and payc)ble two (2) business
  days after written notice by the Non-defaulting Party. In addition, the Non-defaulting Party may set-off any amounts owed by the Defaulting Party to
  the Non-defaulting Party under any other agreements between the parties against any Settlement Amount owed by the Non-defaulting Party to the
  Defaulting Partyhereunder.
  The parties agree that each of them is a forward contract merchant as set forth in 11 u.s.c. Section 101(25). The parties also agree that this
  Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101(25). The payments
  and transfers described herein shall constitute "Settlement Payments" or "Margin Payments'' as set forth in 11 U.S.C. Sections 101 (51A) and (38).
  Each Party consents to the recording of all telephone conversations between its representative and the representatives of the other Party.

  This Contract is made on the basis of freight rates in effect on the date hereof. Any increase in freight rates taking effect before the full performance
  of thi~ Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
  shipment.
  All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
  reasonable alternate place of delivery to facilitate Seller's performance of this Contract but shall have. no obligation to do so. Any increased shipping
  charges incurred under this provision shall be for Seller's account and any reductions in shipping charges shall be for Buyer's account; provided
  however, if the designated alternate delivery points are solely for Buyer's convenience, increase shipping charges shall be for Buyer's account.

  Unless otherwise specified, .each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

  Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
  Buyer's performance hereunder, or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specified,
  shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
  lack of available storage space, equipment breakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
  disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
  This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
--~"!'~cpnditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
  insofar as theymig'hfrnanywayconfllcrwith any terms·or.:onditions uf Seller's confirmation.         .---···              ... · · - - - - ·-·------ _--·-· __
  There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
  60-250.4 and 41 C. F. R. para. 60-741.4 to e$!nt the incorporation thereof is required by or necessary for compliance with applicable federal laws,
  regulations or orders. As used in such clauses, "contractor'' shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order
  incorporates by reference the EEO Clause contained in 41 C.F.R. Sections 60-1.4, 60-741.5, and 60-250.5.
 CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller arising under this Contract shall be settled by arbitration
 which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
 in accordance with the rules of the National Grain and Feed Association [NGFA]. At the time notice of arbitration is served by either Buyer or Seller
 upon the other, (I) if either is a member of NGFA, the NGFAArbitration Committee shall serve as the arbitrator; (ii) if neither is a member of the
 NGFA, the American Arbitration Association shall serve as the arbitrator.
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  GAVILON ~                               Gavilon Grain, LLC
                                                   CONFIRMATION OF PRICING
 PINE BLUFF AR                                    AND/OR ORIGINAL CONTRACT
 509 ISLAND HARBOR MARINA RD                              AMENDMENT                  Our Number:                6052415
 PINE BLUFF, AR 71602                                                                FUTURE ONLY-HTA             Purchase
 870/419-7008
                                                                                     Contract Date:              2/12/2018
          s                                                                          Customer No.              0000367046
          E   C &A FARMS
          L   P.O. BOX 96                                                            Broker:
          L
          E                                                                          Broker No.:
          R   MARVELL             AR       72366                                     Delivery Terms:     DLV PINE BLUFF
THIS CONFIRMATION COVERS OUR UNDERSTANDING OF PRICING, AND/OR, OF AMENDMENT($) IN PRIOR STIPULATIONS,
TERMS, OR CONDITIONS OF THE CONTRACT SO DESIGNATED. THE NEW TERMS ARE TO BE CONSIDERED AS PART OF THE
ORIGINAL CONTRACT AND ARE MADE WITH THE BEST INTERESTS OF BOTH PARTIES IN MIND. FAILURE TO ADVISE GAVILON
GRAIN, LLC IMMEDIATELY BY WIRE OF ANY DISCREPANCY, OBJECTION TO OR DISAGREEMENT WITH SUCH TERMS AND
CONDITIONS SHALL BE AN ACCEPTANCE THEREOF.
 COMMODITY: #1YSB YELLOW SOYBEANS                                   WEIGHTS:                DESTINATION
 TOTAL QUANTITY:              20,000.00                             GRADES:                 DESTINATION ·
                                                                   TRANSPORTATION:                 TRUCK
 PRJCED QUANTITY:             20,000.00
                                                                    REFERENCE:
                                   0.00
                              Delivery           Schedule Futures Futures             Basis        BU
                               D                                   Price
 Priced       10/4/2018   9/1/2018 - 9/30/2018     $9.42000   Nov-18     $10.10000   -$0.68000          0.00       20,000.00




 Buyer's scale of discounts at time of delivery to apply.              Total Priced BUSHELS                    20,000.00
 Rules to apply: NGFA


HTAFEE.03
BASIS SET BEFORE DLV



BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER.
                   Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 32 of 50
                                                        TERMS AND CONDITIONS
Except as modified or limited by the terms and conditions stated herein, the Contract shall be governed by and construed in accordance with the
applicable rules and regulations of the exchange, board or association designated on the face hereof, or, if none is designated or Seller is not a
member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Uniform Commercial Code.
Seller warrants to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality in accordance with the
grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning of the Federal Food, Drug
and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act, be introduced into interstate
commerce: that neither any such grain nor the shipment thereof will be in violation of or subject ta penalty, seizure or lien under any other federal,
state or local law, ordinance regulation quota or order, and all grain said hereunder will be delivered to Buyer free and clear of any and all liens,
encumbrances, security interests, claims and penalties of any kind and nature.
In the event that a party hereto (the "Defaulting Party") becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
trustee, custodian or liquidator of itself or any of its property, or generally fails to pay its debts as they become due, or makes a general assignment
for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
creditors or any other relief under the Bankruptcy Code, Title 11 of the United States Code, as amended or recodified from time to time, or under
any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party") may (i) immediately cancel this Contract and all
other Contracts between the parties hereto, (ii) liquidate such cancelled Contracts in a commercially reasonable manner, and (iii) aggregate such
liquidated amounts into a single liquidated settlement amount (the "Settlement Amount'') due, which shall be due and payable two (2) business
days after written notice by the Non-defaulting Party. In addition, the Non-defaulting Party may set-off any amounts owed by the Defaulting Party to
the Non-defaulting Party under any other agreements between the parties against any Settlement Amount owed by the Non-defaulting Party to the
Defaulting Party hereunder.
The parties agree that each of them is a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101(25). The payments
and transfers described herein shall constitute "Settlement Payments" or "Margin Payments" as set forth in 11 U.S.C. Sections 101(51A) and (38).
Each Party consents to the recording of all telephone conversations between its representative and the representatives of the other Party.

This Contract is made on the basis of freight rates in effect on the date hereof. Any increase in freight rates taking effect before the full performance
of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
shipment.
All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
reasonable alternate place of delivery to facilitate Seller's performance of this Contract but shall have no obligation to do so. Any increased shipping
charges incurred under this provision shall be for Seller's account and any reductions in shipping charges shall be for Buyer's account; provided
however, if the designated alternate delivery points are solely for Buyer's convenience, increase shipping charges shall be for Buyer's account.

Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
Buyer's performance hereunder, or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specified,
shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
lack of available storage space, equipment breakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.

This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
terms and conditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
insofar as they might in any way conflict with any terms or conditions of Seller's confirmation.
There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
60-250.4 and 41 C.F.R. para. 60-741.4 to extent the incorporation thereof is required by or necessary for compliance with applicable federal laws,
regulations or orders. As used in such clauses, "contractor'' shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order
incorporates by reference the EEO Clause contained in 41 C.F.R. Sections 60-1.4, 60-741.5, and 60-250.5.
CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller arising under this Contract shall be settled by arbitration
which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
in accordance with the rules of the National Grain and Feed Association [NGFA]. At the time notice of arbitration is served by either Buyer or Seller
upon the other, (I) if either is a member of NGFA, the NGFAArbitration Committee shall serve as the arbitrator; (ii) if neither is a member of the
NGFA, the American Arbitration Association shall serve as the arbitrator.
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       GAVILON ~                               Gavilon Grain, LLC
      PINE BLUFF AR                                                                 Our Number:                 6052412
      509 ISLAND HARBOR MARINA RD                                                   FUTURE ONLY-HTA           Purchase
      PINE BLUFF, AR 71602
      870/419-7008
                                                                                    Contract Date:             2/9/2018

                s                                                                     Customer No.            0000367047
                E   BROCATO & UNGER FARMS                                             Payment Tenns:
                L   P.O. BOX 96                                                       Broker:
                ~                                                                     Broker No.:
                R   MARVELL             AR      72366                                 Delivery Tenns:    DLV PINE BLUFF
       SELLER AGREES TO AND CONFIRMS THE SALE OF THE FOLLOWING DESCRIBED COMMODITIES TO GAVILON GRAIN, LLC
       (BUYER) SUBJECT TO THE TERMS AND CONDITIONS STATED ON THE FACE AND BACK THEREOF. FAILUR.E TO ADVISE
       GAVILON GRAIN, LLC IMMEDIATELY BY WIRE OF ANY DISCREPANCY, OBJECTION TO OR DISAGREEMENT WITH SUCH
       TERMS AND-CONDITIONS SHALt BE AN ACCEPTANCETHEREOF.·-               . WEIGHTS:.    -  " 'OESTINATJON
------COMMODITY: #1¥SB--¥El±8W-50¥BEANS                                      6~ES.              DESTINATION
                                                                             TRANSPORTATION:           TRUCK
       QUANTITY:    5,000.00                BU                               REFERENCE:
                                                                             MARKET REGION:     PINE BLUFF AR
                            Delivery              Schedule         Futures     F~ures          Other               BU
     Status                  Dates                  Price          Month         rice          Fees            Scheduled
     Unpriced         9/1/2018 - 9/30/2018          $0.00000       Nov-18      $10.10000    -$0.03000             5,000.00




      Buyer's scale of discounts at time of delivery to apply.        Total Contracted BUSHELS                  5,000.00
                                                                 TO BE PRICED DURING AN ACTIVE SESSION OF THE APPLICABLE
      Rules to apply: NGFA                                       EXCHANGE (CBOT/KBOT/MGE) PRIOR TO THE SECOND TO LAST
                                                                 TRADING DAY PRECEDING THE FIRST NOTICE DAY
     HTAFEE.03
     BASIS TO BE SET BEFORE DLV




     BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER. BUYER'S. SCHEDULE OF
     DISCOUNTS TO APPLY. SELLER GUARANTEES GRAIN U.S. GROWN. IF PRICE OF GRAIN IS ON A PREMIUM BASIS, CONTRACT TO BE
     PRICED OR SPREAD PRIOR TO THE LAST TRADING DAY PRECEDING THE FIRST DELIVERY DAY OF THE FUTURES CONTRACT.




                                                                                                          2 - o 9 -,a
                                                                                                                    Date
                       Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 34 of 50
                                                         TERMS AND CONDITIONS
Except as modified or limited by the terms and conditions stated herein, the Contract shall be governed by and construed in accordance with the
applicable rules and regulations of the exchange, board or association designated on the face hereof, or, if none is designated or Seller is not a
member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Uniform Commercial Code.
Seller warrants to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality In accordance with the
grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning of the Federal Food, Drug
and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act, be introduced into interstate
commerce; that neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
encumbrances, security interests, claims and penalties of any kind and nature.
In the event that a party hereto (the "Defaulting Party'? becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
trustee, custodian or liquidator of itself or any of its property, or generally falls to pay its debts as they become due, or makes a general assignment
for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
creditors or any other relief under the Bankruptcy Code, Title 11 of the United States Code, as amended or recodified from time to time, or under
any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party'? may (i) immediately cancel this Contract and all
other Contracts between the parties hereto, (ii) liquidate such cancelled Contracts In a commercially reasonable manner, and (iii) aggregate such
liquidated amounts Into a single liquidated settlement amount (the "Settlement Amount") due, which shall be due and payable two (2) business
days after written notice by the Non-defaulting Party. In addition, the Non-defaulting Party may set-off any amounts owed by._the Defaulting Party to
the Non-defaulting Party under any other agreements between the parties against any Settlement Amount owed by the Non-defaulting Party to the
petaulting Party hereunder.
The parties agree that each of them is a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101(25). The payments
and transfers described herein shall constitute "Settlement Payments" or "Margin Payments" as set forth in 11 U.S.C. Sections 101 (51A) and (38).
Each Party consents to the recording of all telephone conversations between its representative and the representatives of the other Party.

This Contract is made on the basis of freight rates in effect on the date hereof. Any increase in freight rates taking effect before the full performance
of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
shipment.
All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
reasonable alternate place of delivery to facilitate Seller's performance of this Contract but shall have no obligation to do so. Any increased shipping
charges incurred under this provision shall be for Seller's account and any reductions in shipping charges shall be for Buyer's account; provided
however, if the designated alternate delivery points are solely for Buyer's convenience, increase shipping charges shall be for Buyer's account.

Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
Buyer's performance hereunder, or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specified,
shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
lack of available storage space, equipment breakdown, labor trouble,. governmental regulations, transportation difficulties, embargoes, civil
disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
terms and conditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
insofar-as they might in any way conflict with-any terms-or.conditions of..5eller's..confirmation __ . __ __
There are hereby incorporated herein by reference the respective Equal Opportunity Clauses sat forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
60-250.4 and 41 C.F.R. para. 60-741.4 to extent the incorporation thereof is required by or necessary for compliance with applicable federal laws,
regulations or orders. As used in such clauses, "contractor'' shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order
incorporates by reference the EEO Clause contained in 41 C.F.R. Sections 60-1.4, 60-741.5, and 60-250.5.
CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller arising under this Contract shall be settled by arbitration
which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
In accordance with the rules of the National Grain and Feed Association [NGFA]. At the time notice of arbitration is served by either Buyer or Seller
upon the other, (1) if either is a member of NGFA, the NGFAArbitration Committee shall serve as the arbitrator; (ii) if neither is a member of the
NGFA, the American Arbitration Association shall serve as the arbitrator.
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  GAVILON ~                               Gavilon Grain, LLC
 PINE BLUFF AR                                                                      Our Number:                      6052414
 509 ISLAND HARBOR MARINA RD                                                        FUTURE ONLY-HTA                Purchase
 PINE BLUFF, AR 71602
 870/419-7008
                                                                                    Contract Date:                 2/12/2018

           s                                                                          Customer No.                 0000367047
           E   BROCATO & UNGER FARMS                                                  Payment Terms:
           L   P.O. BOX96                                                             Broker:
           L
           E                                                                          Broker No.:
           R   MARVELL               AR    72366                                      Delivery Terms:        DLV PINE BLUFF
 SELLER AGREES TO ANO CONFIRMS THE SALE OF THE FOLLOWING DESCRIBED COMMODITIES TO GAVILON GRAIN, LLC
 (BUYER) SUBJECT TO THE TERMS AND CONDITIONS STATED ON THE FACE AND BACK THEREOF. FAILURE TO ADVISE
 GAVILON GRAIN, LLC IMMEDIATELY BY WIRE OF ANY DISCREPANCY. OBJECTION TO OR DISAGREEMENT WITH SUCH
 TERMS ANb-CONDiTIONS SHALL BE AN ACCEPTANCE THEREOF. .,, .. - -·     WEIGHTS:    .. . . ·---DESTINATION
 COMMO0ITV:#1YSe-YEttoW·SO-Y8EANS                                            - ---GRADES!---                    DE.SIi NATiON
                                                                                   TRANSPORTATION:                      TRUCK
 QUANTITY:         20,000.00                  BU                                   REFERENCE:
                                                                                      MARKET REGION:            PINE BLUFF AR
                         Delivery            Schedule             Futures      Futures           Other                 BU
Status                    Dates                 Price            Month          Price            Fees              Scheduled
Unpriced           9/1/2018 - 9/30/2018        $0.00000          Nov-18       $10.10000       -$0.03000                20,000.00




 Buyer's scale of discounts at time of delivery to apply.           Total Contracted BUSHELS                       20,000.00
 Rules to apply: NGFA                                          TO BE PRICED DURING AN ACTIVE SESSION OF THE APPLICABLE
                                                               EXCHANGE (CBOT/KBOT/MGE) PRIOR TO THE SECOND TO LAST
                                                               TRADING DAY PRECEDING THE FIRST NOTICE DAY
'--------------------'
HTA FEE .03
SET BASIS BEFORE DLV




BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER. BUYER'S SCHEDULE OF
DISCOUNTS TO APPLY. SELLER GUARANTEES GRAIN U.S. GROWN. IF PRICE OF GRAIN IS ON A PREMIUM BASIS, CONTRACT TO BE
PRICED OR SPREAD PRIOR TO THE LAST TRADING DAY PRECEDING THE FIRST DELIVERY DAY OF THE FUTURES CONTRACT.

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~ged:                                                            GavilonG's:LL-~=--.....::?                       Z~t2'fS
~ UNGER FARMS                                           Date     -----~--,S,-..,..A~1--c-Y-:-:O'l1fii=~G"""'---------=o_,,at,:.e-
                                  PLEASE SIGN ONE COPY AND RETURN TO ABOVE AD RESS.
                     Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 36 of 50
                                                         TERMS AND CONDITIONS
Except as modified or limited by the terms and conditions stated herein, the Contract shall be governed by and construed in accordance with the
applicable rules and regulations of the exchange, board or association designated on the face hereof, or, if none is designated or Seller is not a
member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Uniform Commercial Code.
Seller warrants to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality in accordance with the
grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
part of this Contract and so stated on the face hereof; that ii will not be adulterated or misbranded within the meaning of the Federal Food, Drug
and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act, be introduced into interstate
commerce; that neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
encumbrances, security interests, claims and penalties of any kind and nature.
In the event that a party hereto (the "Defaulting Party") becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
trustee, custodian or liquidator of itself or any of its property, or generally fails to pay its debts as they become due, or makes a general assignment
for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
creditors or any other relief under the Bankruptcy Code, Title 11 of the United States Code, as amended or recodified from time to time, or under
any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party") may (i) immediately cancel this Contract and all
other Contracts between the parties hereto, (ii) liquidate such cancelled Contracts in a commercially reasonable manner, and (iii) aggregate such
liquidated amounts into a single liquidated settlement amount (the "Settlement Amount") due, which shall be due and payable two (2) business
days after written notice by the Non-defaulting Party. In addition, the Non-defaulting Party may set-off any amounts owed by the Defaulting Party to
the Non-defaulting Party under any other agreements between the parties against any Settlement Amount owed by the Non-defaulting Party to the
Defaulting Party hereunder.
The parties agree that each of them is a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101 (25), The payments
and transfers described herein shall constitute "Settlement Payments" or "Margin Payments" as set forth in 11 U.S.C. Sections 101(51A) and (38).
Each Party consents to the recording of all telephone conversations between its representative and the representatives of the other Party.

This Contract is made on the basis of freight rates in effect on the date hereof. Any increase In freight rates taking effect before the full performance
of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
shipment.
All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
reasonable alternate place of delivery to facilitate Seller's performance of this Contract but shall have no obligation to do so. Any increased shipping
charges incurred under this provision shall be for Seller's account and any reductions In shipping charges shall be for Buyer's account; provided
however, if the designated alternate delivery points are solely for Buyer's convenience, increase shipping charges shall be for Buyer's account.

Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
Buyer's performance hereunder, or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specified,
shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
lack of available storage space, equipment breakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
terms and conditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
insofar as thE!y_~ight i~~ay CC>i:!_flict with any tEl_f1!1~ o..i:condi~ons C?f ~ll.43r's cgnfir:matiQo....___ __
There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 {a), 41 C.F.R. para.
60-250.4 and 41 C.F.R. para. 60-741.4 to extent the incorporation thereof is required by or necessary for compliance with applicable federal laws,
regulations or orders. As used in such clauses, "contractor" shall mean the Seller hereunder. Unless otherwise exempt. this Purchase Order
incorporates by reference the EEO Clause contained in 41 C.F.R. Sections 60-1.4, 60-741.5, and 60-250.5.
CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller ansing under this Contract shall be settled by arbitration
which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
in accordance with the rules of the National Grain and Feed Association [NGFAJ. At the time notice of arbitration is served by either Buyer or Seller
upon the other, (I) if either is a member of NGFA, the NGFAArbitration Committee shall serve as the arbitrator; (ii) if neither is a member of the
NGFA. the American Arbitration Association shall serve as the arbitrator.
                   Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 37 of 50


  GAVILON ~                              Gavilon Grain, LLC
 PINE BLUFF AR                                                            Our Number:                  6055233
 509 ISLAND HARBOR MARINA RD                                              PRICED                      Purchase
 PINE BLUFF, AR 71602
 870/419-7008
                                                                          Contract Date:                3/8/2018

                                                                            Customer No.             0000367047
         s                                                                  Payment Terms:
         E BROCATO & UNGER FARMS
         L  P.O. BOX 96                                                     Broker:
         L                                                                  Broker No.:
         E
         R   MARVELL             AR       72366                             Delivery Terms:      DLV PINE BLUFF

 SELLER AGREES TO AND CONFIRMS THE SALE OF THE FOLLOWING DESCRIBED COMMODITIES TO GAVILON GRAIN, LLC
 (BUYER) SUBJECT TO THE TERMS AND CONDITIONS STATED ON THE FACE AND BACK THEREOF. FAILURE TO ADVISE
 GAVILON GRAIN, LLC IMMEDIATELY BY WIRE OF ANY DISCREPANCY, OBJECTION TO OR DISAGREE.MENT WITH SU.CH . .
 TERMS AND CONDITIONS SHALL BE AN ACCE:PTANCE THEREOF.         .    . WEIGHTS: .  ·- . . .. .. DESTINATION
  COMMODITY: #1YSB YELLOW SOYBEANS                                          GRADES:                DESTINATION
. ·--- ··- ----- ""'" -· -- ' .,· ·-· ---- -                               "TRANSPORTATION:            ~-- TRUC"K --- ,......--
 QUANTITY:      20,000.00                BU                                REFERENCE:


                     Delivery               Schedule       Futures    Futures         Basis                  BU
Status                Dates                   Price        Month       Price          Price                Priced
Priced         9/1/2018 • 9/30/2018           $10.27000    Nov-18    $10.40000      -$0.13000             20,000.00




Buyer's scale of discounts at time of delivery to apply.      Totaf Contracted BUSHELS.               ·2u:ooo.oo ·
Rules to apply: NGFA




BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER. BUYER'S SCHEDULE OF
DISCOUNTS TO APPLY. SELLER GUARANTEES GRAIN U.S. GROWN. IF PRICE OF GRAIN IS ON A PREMIUM BASIS, CONTRACT TO BE
PRICED OR SPREAD PRIOR TO THE LAST TRADING DAY PRECEDING THE. FIRST DELIVERY DAY OF THE FUTURES CONTRACT.




                                                                                                   '1-8 .. II
                                                                                                                Date
                     Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 38 of 50
                                                         TERMS AND CONDITIONS
 Except as modified or limited by the terms and conditions stated herein, the Contract shall be governed by and construed in accordance with the
 applicable rules and regulations of the exchange, boerd or association designated on the face hereof, or, if none is designated or Seller is not a
 member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
 hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Uniform Commercial Code.
 Seller warrants to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality in accordance with the
 grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
 part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning of the Federal Food, Drug
 and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act, be introduced into interstate
 commerce; that neither any such grain nor the shipment thereof will be in violation of or subject to penalty. seizure or lien under any other federal,
 state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
 encumbrances, security interests, claims and penalties of any kind and nature.
In the event that a party hereto (the "Defaulting Party'') becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
trustee, custodian or liquidator of itself or any of Its property, or generally fails to pay its debts as they become due, or makes a general assignment
for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
creditors or any other relief under the Bankruptcy Code, Title 11 of the United States Code, as amended or recodified from time to time, or under
any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party'') may (i) immediately cancel this Contract and all
other Contracts between the parties hereto, (ii) liquidate such cancelled Contracts in a commercially reasonable manner, and (iii) aggregate such
liquidated amounts into a single liquidated settlement amount (the "Settlement Amount") due, which shall be due and payable two (2) business
days after written notice by the Non-defaulting Party. In addition, the Non-defaulting Party may set-off any amounts oweci by the Defaulting Party to
the Non-defaulting Party under any other agreements between the parties against any Settlement Amount owed by the Non-defaulting Party to the
Defaulting Party hereunder.
The parties agree that each of them ls a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101(25). The payments
and transfers described herein shall constitute "Settlement Payments" or "Margin Payments" as set forth in 11 U.S. C. Sections 101 (51A) and (38).
Each Party consents to the recording of all telephone conversations between its representative and the representatives of the other Party,

This Contract is made on the basis of freight rates in effect on the date hereof. Any increase in freight rates taking effect before the full performance
of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
shipment.
All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
reasonable alternate place of delivery to facilitate Seller's performance of this Contract but shall have no obligation to do so. Any increased shipping
charges incurred under this provision shall be for Seller's account and any reductions in shipping charges shall be for Buyer's account; provided
however, if the designated alternate delivery points are solely for Buyer's convenience, increase shipping charges shall be for Buyer's account.

Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
Buyer's performance hereunder, or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specified,
shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
lack of available storage space, equipment breakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
 This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
 terms and conditions of their agreement This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
·insofaras they mlghHn any-way conflict with any terms or conditions of S.ellers confirma_tion,
There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
60-2§0.4 an<:l 41. C. F. R. para. 60-7 41.4 to extent the incorporation th~reof is required by or necessary for compliance with applicable federal laws,
regulations or orders. As used in such clauses, "contractor" shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order ·
incorporates by reference the EEO Clause contained in 41 C.F.R. Sections 60-1.4, 60-741.5, and 60-250.5.
CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller arising under this Contract shall be settled by arbitration
which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
in accordance with the rules of the National Grain and Feed Association [NGFA). At the time notice of arbitration is served by either Buyer or Seller
upon the other, (I) if either is a member of NGFA, the NGFAArbitration Committee shall serve as the arbitrator; (ii) if neither is a member of the
NGFA, the American Arbitration Association shall serve as the arbitrator.
                         Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 39 of 50



      GAVILON ~                                Gavilon Grain, LLC
     PINE BLUFF AR                                                                 Our Number:                6052408
     509 ISLAND HARBOR MARINA RD                                                   FUTURE ONLY-HTA           Purchase
     PINE BLUFF, AR71602
     870/419-7008
                                                                                   Contract Date:            1/30/2018

               s                                                                     Customer No.            0000367047
               E    BROCATO & UNGER FARMS                                            Payment Terms:
               L    P.O. BOX 96                                                      Broker:
               L
               E                                                                     Broker No.:
               R    MARVELL               AR   72366                                 Delivery Terms:    DLV PINE BLUFF
    SELLER AGREES TO AND CONFIRMS THE SALE OF THE FOLLOWING DESCRIBED COMMODITIES TO GAVILON GRAIN, LLC
    (BUYER) SUBJECT TO THE TERMS AND CONDITIONS STATED ON THE FACE AND BACK THEREOF. FAILURE TO ADVISE
    GAVILON GRAIN, LLC IMMEDIATELY BY WIRE OF ANY DISCREPANCY, OBJECTIONTO OR DISAGREEMENT WITH SUCH
-   TERMs AND ·coNDrnoNs SHALL BE AN ACCEPTANCE THEREOF: ·--·--·- ....,.. ·· wE1GHTs~· -- · · - . ......,.. - ~DES,TNATloN·- ·
     COMMODITY: #1YSB YELLOW SOYBEANS                                                GRADES:               DESTINATION
                                                                                     TRANSPORTATION:              TRUCK
     QUANTITY:        25,000.00                   BU                                 REFERENCE:
                                                                                     MARKET REGION:       PINE BLUFF AR
                             Delivery            Schedule         Futures     Futures         Other                BU
    Status                    Dates                Price          Month        Price           Fees           Scheduled
    Unpriced         8/20/2018 • 9/14/2018        $0.00000        Nov-18      $10.16000    -$0.05000             25,000.00




     Buyer's scale of discounts at time of delivery to apply.        Total Contracted BUSHELS                 25,000.00
     Rules to apply: NGFA                                       TO BE PRICED DURING AN ACTIVE SESSION OF THE APPLICABLE
                                                                EXCHANGE (CBOT/KBOT/MGE) PRIOR TO THE SECOND TO LAST
                                                                TRADING DAY PRECEDING THE FIRST NOTICE DAY
    FUTURES FIRST CONTRACT HTA FEE -.05
    BASIS TO BE SET BEFORE DELNERY




    BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER. BUYER'S SCHEDULE OF
    DISCOUNTS TO APPLY. SELLER GUARANTEES GRAIN U.S. GROWN. IF PRICE OF GRAIN IS ON A PREMIUM BASIS, CONTRACT TO BE
    PRICED OR SPREAD PRIOR TO THE LAST TRADING DAY PRECEDING THE FIRST DELIVERY DAY OF THE FUTURES CONTRACT.



    Con~kn71er1,;yf.                                              Gavilon G'J''c~C   ~
                   B R O ~ E R FARMS            Date                   s~ou~
                              PLEASE SIGN ONE COPY AND RETURN TO ABOVE A S.
                      Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 40 of 50
                                                         TERMS AND CONDITIONS
Except as modified or limited by the terms and conditions stated herein, the Contract shall be governed by and construed in accordance with the
applicable rules and regulations of the exchange, board or association designated on the face hereof, or, if none is designated or Seller is not a
member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Uniform Commercial Code.
Seller warrants to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality in accordance with the
grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning of the Federal Food, Drug
and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act, be introduced into interstate
commerce; that neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
encumbrances, security interests, claims and penalties of any kind and nature.
In the event that a party hereto (the "Defaulting Party") becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
trustee, custodian or liquidator of itself or any of its property, or generally fails to pay its debts as they become due, or makes a general assignment
for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
creditors or any other relief under the Bankruptcy Code, Title 11 of the United States Code, as amended or recodified from time to time, or under
any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party") may (i) immediately cancel this Contract and all
other Contracts between the parties hereto, (ii) liquidate such cancelled Contracts in a commercially reasonable manner, and (iii) aggregate such
liquidated amounts Into a single liquidated settlement amount (the "Settlement Amount") due, which shall be due and payable two (2) business
days after written notice by the Non-defaulting Party. In addition, the Non-defaiulting ·Party may set-off any amounts owed by the Defaulting Party-to
the Non-defaulting Party under any other agreements between the parties against any Settlement Amount owed by the Non-defaulting Party to the
Defaulting Party hereunder.
The parties agree that each of them is a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101(25). The payments
and transfers described herein shall constitute "Settlement Payments" or "Margin Payments" as set forth in 11 U.S.C. Sections 101(51A) and (38).
Each Party consents to the recording of all telephone conversations between its representative and the representatives of the other Party.

This Contract is made on the basis of freight rates in effect on tne date nereof. Any increa&e in freight rates taking effect before the full performance
of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
shipment.
All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
reasonable alternate place of delivery to facilitate Seller's performance of this Contract but shall have no obligation to do so. Any increased shipping
charges incurred under this provision shall be for Seller's account and any redµctions in shipping charges shall be for Buyer's account; provided
however, if the designated alternate delivery points are solely for Buyer's convenience. increase shipping charges shall be for Buyer's account.

Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
Buyer's performance hereunder, or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specified,
shaU be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
lack of available storage space, equipment breakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
terms and conditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
ins~~ they might in a,:iy w11y.9?..,:ifllc:;t wfth ?1ny teems gr conditi.QJlL.of.Se.ller'aconfirmatian......_ ...._ ---· ------· .. -                 .•------.
There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
60-250.4 and 41 C.F.R. para. 60-741.4 to extent the incorporation thereof is required by or necessary for compliance with applicable federal laws,
regulations or orders. As used in such clauses, "contractor" shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order
incorporates by reference the EEO Clause contained in 41 C.F.R. Sections 60-1.4, 60-741.5, and 60-250.5.
CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller arising under this Contract shall be settled by arbitration
which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
in accordance with the rules of the National Grain and Feed Association [NGFA]. At the time notice of arbitration is served by either Buyer or Seller
upon the other, (I) if either is a member of NGFA, the NGFAArbitration Committee shall serve as the arbitrator; (ii) if neither Is a member of the
NGFA the American Arbitration Association shall serve as the arbitrator.
                   Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 41 of 50



  GAVILON ~                                 Gavilon Grain, LLC
                                                     CONFIRMATION OF PRICING
 PINE BLUFF AR                                      AND/OR ORIGINAL CONTRACT
 509 ISLAND HARBOR MARINA RD                                AMENDMENT                  Our Number:               6052408
 PINE BLUFF, AR 71602                                                                  FUTURE ONLY-HTA            Purchase
 870/419-7008
                                                                                       Contract Date:             1/30/2018
          s                                                                            Customer No.             0000367047
          E    BROCATO & UNGER FARMS
          L    P.O. BOX 96                                                             Broker:
          ~                                                                            Broker No.:
          R    MARVELL                AR     72366                                     Delivery Terms:    DLV PINE BLUFF
THIS CONFIRMATION COVERS OUR UNDERSTANDING OF PRICING, AND/OR, OF AMENOMENT{S) IN PRIOR STIPULATIONS,
TERMS, OR CONDITIONS OF THE CONTRACT SO DESIGNATED. THE NEW TERMS ARE TO BE CONSIDERED AS PART OF THE
ORIGINAL CONTRACT AND ARE MADE WITH THE BEST INTERESTS OF BOTH PARTIES IN MIND. FAILURE TO ADVISE GAVILON ·
GRAIN, LLC IMMEDIATELY BY WIRE Of ANY DISCREPANCY, OBJECTION TO OR DISAGREEMENT WITH SUCH TERMS AND
CONDITIONS SHALL BE AN ACCEPTANCE THEREOF.
 COMMODITY: #1YSB YELLOW SOYBEANS                                   WEIGHTS:                DESTINATION
 TOTAL QUANTITY:              25,000.00                             GRADES:                 DESTINATION
                                                                   TRANSPORTATION:                 TRUCK
 PRICED QUANTITY:             25,000.00
                                                                    REFERENCE:
 UNPRICED QUANTITY:                         0.00
               Pricing          Delivery           Schedule Futures Futures             Basis      BU
               Date              Dates               Price   Mon     Price
 Priced        10/6/2018   8/20/2018 - 9/14/2018     $9.47000   Nov-18     $10.16000   -$0.69000         0.00       25,000.00




 Buyer's scale of discounts at time of delivery to apply.                Total Priced BUSHELS                   25,000.00 ·
 Rules to apply: NGFA


FUTURES FIRST CONTRACT HTA FEE -.05
BASIS TO BE SET BEFORE DELIVERY



BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER.




                                                                 :~
Confirmation Acknowledged:


_g?L,Ls       BROCATO & UNGER FARMS
                                              Date2._ _ _ __
                                                                    ROBERT RHODES
                            PLEASE SIGN ONE COPY AND RETURN TO ABOVE ADDRESS.
                  Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 42 of 50
                                                        TERMS AND CONDITIONS
Except as modified or limited by the terms and conditions stated herein, the Contract shall be governed by and construed in accordance with the
applicable rules and regulations of the exchange, board or association designated on the face hereof, or, if none is designated or Seller is not a
member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Uniform Commercial Code.
Seller warrants to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality in accordance with the
grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning of the Federal Food, Drug
and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act, be introduced into interstate
commerce; that neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
encumbrances, security interests, claims and penalties of any kind and nature.
In the event that a party hereto (the "Defaulting Party'') becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
trustee, custodian or liquidator of itself or any of its property, or generally fails to pay its debts as they become due, or makes a general assignment
for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
creditors or any other relief under the Bankruptcy Code, Title 11 of the United States Code, as amended or recodified from time to time, or under
any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party'') may (i) immediately cancel this Contract and all
other Contracts between the parties hereto, (ii) liquidate such cancelled Contracts In a commercially reasonable manner, and (iii) aggregate such
liquidated amounts into a single liquidated settlement amount (the "Settlement Amount") due, which shall be due and payable two (2) business
days after written notice by the Non-defaulting Party. ln addition, the Non-defaulting Party may set-off any amounts owed by the Defaulting Party to
the Non-defaulting Party under any other agreements between the parties against any Settlement Amount owed by the Non-defaulting Party to the
Defaulting Party hereunder.
The parties agree that each of them is a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101(25). The payments
and transfers described herein shall constitute "Settlement Payments" or "Margin Payments" as set forth in 11 U.S.C. Sections 101(51A) and (38).
Each Party consents to the recording of all telephone conversations between its representative and the representatives of the other Party.

This Contract is made on the basis of freight rates in effect on the date hereof. Any increase in freight rates taking effect before the full performance
of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
shipment.
Alt shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
reasonable alternate place of delivery to facilitate Seller's performance of this Contract but shall have no obligation to do so. Any increased shipping
charges incurred under this provision shall be for Seller's account and any reductions in shipping charges shall be for Buyer's account; provided
however, if the designated alternate delivery points are solely for Buyer's convenience, increase shipping charges shall be for Buyer's account.

Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
Buyer's performance hereunder, or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specified,
shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
lack of available storage space, equipment breakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
terms and conditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
insofar as they might in any way conflict with any terms or conditions of Seller's confirmation.
There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
60-250.4 and 41 C.F.R. para. 60-741.4 to extent the incorporation thereof is required by or necessary for compliance with applicable federal laws,
regulations or orders. As used in such clauses, "contractor'' shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order
incorporates by reference the EEO Clause contained in 41 C.F. R. Sections 60-1.4, 60-7 41.5, and 60-250.5.
CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller arising under this Contract shalt be settled by arbitration
which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
in accordance with the rules of the National Grain and Feed Association [NGFA]. At the time notice of arbitration Is served by either Buyer or Seller
upon the other, (I) if either is a member of NGFA, the NGFAArbitration Committee shall serve as the arbitrator; (ii) if neither is a member of the
NGFA, the American Arbitration Association shall serve as the arbitrator.
                    Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 43 of 50



   GAVILON ~                                 Gavilon Grain, LLC
  PINE BLUFF AR                                                               Our Number:                  6055181
  509 ISLAND HARBOR MARINA RD                                                 PRICED                      Purchase
  PINE BLUFF, AR 71602
  870/419-7008
                                                                              Contract Date:              12/5/2017
                                                                                   Customer No.          0000306307
          s                                                                        Payment Terms:
          E PHARR FARMS
          L    2946 FLORENCE RD                                                    Broker:
          L                                                                        Broker No.:
          E
                                                                                   Delivery Terms:    DLV PINE BLUFF
          R    MONTICELLO               AR    71655
  SELLER AGREES TO AND CONFIRMS THE SALE OF THE FOLLOWING DESCRIBED COMMODITIES TO GAVILON GRAIN, LLC
  (BUYER) SUBJECT TO THE TERMS AND CONDITIONS STATED ON THE FACE AND BACK THEREOF. FAILURE TO ADVISE
  GAVILON GRAIN, LLC IMMEDIATELY BY WIRE OF ANY DISCREPANCY, OBJECTION TO OR DISAGREEMENT WITH SUCH
  TERMSAND" COlIDITTONS SRALL"BE AN ACCEPTANeEil-tt:RE()F: -  .. . . -·--,-wElGRTS:- -- -----·- DES'flNATl0N· - ..
  COMMODITY: #1YSB YELLOW SOYBEANS                                             GRADES:                 DESTINATION
                                                                               TRANSPORTATION:                TRUCK
  QUANTITY:       10,000.00                  BU                                REFERENCE:


                       Delivery                   Schedule    Futures     Futures           Basis              BU
 Status                 Datl!ts                     Price     Month        Price            Price             Priced
 Priced          9/1/2018 - 9/30/2018             $10.00000   Nov-18     $10.20000        -$0.20000          10,000.00




  Buyer's scale of discounts at time of delivery to apply.       Total Contracted BUSHELS                 10,000.00
  Rules to apply: NGFA




 BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER. BUYER'S SCHEDULE OF
 DISCOUNTS TO APPLY. SELLER GUARANTEES GRAIN U.S. GROWN. IF PRICE OF GRAIN IS ON A PREMIUM BASIS, CONTRACT TO BE
 PRICED OR SPREAD PRIOR TO THE LAST TRADING DAY PRECEDING THE FIRST DELIVERY DAY OF THE FUTURES CONTRACT.



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                    PHARR FARMS                                     @NE~                                       Date
                             PLEASE SIGN ONE COPY AND RETURN TO ABOVE ADDRESS.
-••·~· ••-·•-·•- ..... --1•· -·-.. -•• o•-.-•· --•- -·•- - ....... .,.., __ ••-· ... -• .. --. ••·•• - - -• :,_... .,.._,
grade specified herein;Case       2:19-cv-00058-JM
                          that it will                          Document
                                       have been grown in the Continental         1 Filed
                                                                          United States  unless 05/24/19       Page
                                                                                                a non-United States
                                                                                                                            ---••-1 -·, -••- •••-•-•·-••-,..,.........-,. ., u, 11o111..,,,_,..,..,.,,_ •••u• u,,..,
                                                                                                                        44clause
                                                                                                                    grown    of 50 has been made a
part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning of the Federal Food, Drug
and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act, be introduced into interstate
commerce; that neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
encumbrances, security interests, claims and penalties of any kind and nature.
In the event that a party hereto (the "Defaulting Party'') becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
trustee, custodian or liquidator of itself or any of its property, or generally fails to pay its debts as they become due, or makes a general assignment
for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
creditors or any other relief under the Bankruptcy Code, Title 11 of the United States Code, as amended or recodified from time to time, or under
any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party'1 may (i) immediately cancel this Contract and all
other Contracts between the parties hereto, (ii) liquidate such cancelled Contracts in a commercially reasonable manner, and (iii) aggregate such
liquidated amounts into a single liquidated settlement amount (the "SettlementAmount") due, which shall be due and payable two (2) business
days after written notice by the Non-defaulting Party. In addition, the Non-defaulting Party may set-off any amounts owed by the Defaulting Party to
the Non-defaulting Party onder any other agreements between the parties againsfany Settlement Amount owed by the Non-defaulting Party to the
Defaulting Party hereunder.
The parties agree that each of them is a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
Contract and any other commodity contract between the parti8$ are all forward contracts as defined in 11 U.S.C. Section 101(25). The payments
and transfers described herein shall constitute wsettlement Payments" or "Margin Payments" as set forth in 11 U.S.C. Sections 101(51A) and (38).
Each Party consents to the recording of all telephone conversations between its representative and the representatives of the other Party.

This Contract is made on the basis of freight rates in effect on the date hereof. Any increase in freight rates taking effect before the full performance
of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
shipment
All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. B1,1yer may subsequently designate any
reasonable alternate place of delivery to facilitate Seller's performance of this Contract but shall have no obligation to do so. Any increased shipping
charges incurred under this provision shall be for Seller's account and any reductions in shipping charges shall be for Buyer's account; provided
however, if the designated alternate delivery points are solely for Buyer's convenience, increase shipping charges shall be for Buyer's account

Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
Buyer's performance hereunder, or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specified,
shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
lack of available storage space, equipment breakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
This Contract is Intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
terms and conditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
          ---                 ----
insofar as they might in any way conflict with any terms or conditions of Seller's confirmation.
                                     --·---··. -·-··· -····                           ..
                                                                                                             .. _______________________
                                                                                                                        ,


There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
60-250.4 and 41 C.F.R. para. 60-741.4 to extent the incorporatibn thereof is required by or necessary for compliance with applicable federal laws,
regulations or orders. As used in such clauses, "contractor'' shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order
incorporates by reference the EEO Clause contained in 41 C.F.R. Sections 60-1.4, 60-741.5, and 60-250.5.
CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller arising under this Contract shall be settled by arbitration
Which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
in accordance with the rules of the National Grain and Feed Association [NGFAJ. At the time notice of arbitration is served by either Buyer or Seller
upon the other, (I) if either is a member of NGFA, the NGFAArbitration Committee shall serve as the arbitrator; (ii) if neither is a member of the
NGFA, the American Arbitration Association shall serve as the arbitrator.




                                                                                                                                                                        I.
                            Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 45 of 50


       GAVILON                 W               Gavilon Grain, LLC
      PINE BLUFF AR                                                                 Our Number:                  6052422
      509 ISLAND HARBOR MARINA RD                                                   FUTURE ONLY-HTA            Purchase
      PINE BLUFF, AR 71602
      870/419-7008                                                                  Contract Date:             2/20/2018

                s                                                                     Customer No.             0000240927
                E   C & D FARMS                                                       Payment Terms:
                L   151 COTTONDALE RD                                                 Broker:
                L
                E                                                                     Broker No.:
                R   PINE BLUFF           AR     71601                                 Delivery Terms:      DLV PINE BLUFF
      SELLER AGREES TO AND CONFIRMS THE SALE OF THE FOLLOWING DESCRIBED COMMODITIES TO GAVILON GRAIN, LLC
      (BUYER) SUBJECT TO THE TERMS AND CONDITIONS STATED ON THE FACE AND BACK THEREOF. FAILURE TO ADVISE
      GAVILON GRAIN, LLC IMMEDIATELY BY WIRE OF ANY. DISCREPANCY. QBJECTION IO QR OISAGREEMENT.wo:;_1,LSUCH-.-·----·----·
··---reroJS AND CONDITIONS SHALL BE AN ACCEPTANCE THEREOF.                  WEIGHTS:         · DESTiNATION
      COMMODITY: #1YSB YELLOW SOYBEANS                                                GRADES:                DESTINATION
                                                                                      TRANSPORTATION:              TRUCK
      QUANTITY:       15,000.00                    BU                                 REFERENCE:
                                                                                      MARKET REGION:         PINE BLUFF AR
                              Delivery            Schedule          Futures    Futyres         Other               BU
     Status                    Dates                Price          Month        Price          Fees            Scheduled
     Unpriced         9/1/2018 - 9/30/2018          $0.00000       Nov-18      $10.18000     -$0.03000            15,000.00




      Buyer's scale of discounts at time of delivery to apply.        Total Contracted BUSHELS                  15,000.00
      Rules to apply: NGFA                                       TO BE PRICED DURING AN ACTIVE SESSION OF THE APPLICABLE
                                                                 EXCHANGE (CBOT/K80TIMGE) PRIOR TO THE SECOND TO LAST
                                                                 TRADING DAY PRECEDING THE FIRST NOTICE DAY
     HTAFEE-.03
     BASIS SET BEFORE DLV




     B.UYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER. BUYER'S SCHEDULE OF
     DISCOUNTS TO APPLY. SELLER GUARANTEES GRAIN U.S. GROWN. IF PRICE OF GRAIN IS ON A PREMIUM BASIS, CONTRACT TO BE
     PRICED OR SPREAD PRIOR TO THE LAST TRADING DAY PRECEDING THE FIRST DELIVERY DAY OF THE FUTURES CONTRACT.



    ~                                            ,,.l-,,2/--/,?'   Gavi(iraln,LLC                        2.-2.o-JS
                            C & D FARMS                 Date              ~ E YOUNG                                  Dot
                                      PLEASE SIGN ONE COPY AND RETURN TO AB ADDRESS.
                              Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 46 of 50
                                                                TERMS AND CONDITIONS
        Except as modified or limited by the terms and conditions stated -herein, the Contract shall be governed by and construed in accordance with the
        applicable rules and regulations of the exchange, board or association designated on the face hereof, or, if none is designated or Seller is not a
        member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
        hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Uniform Commercial Code.
       Seller warrants to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality in accordance with the
       grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
       part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning of the Federal Food, Drug
       and Cosmetic Act, nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act, be introduced into interstate
       commerce; that neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
       state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
       encumbrances, security interests, claims and penalties of any kind and nature.
       In the event that a party hereto (the "Defaulting Party") becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
       trustee, custodian or liquidator of itself or any of its property, or generally fails to pay its debts as they become due, or makes a general assignment
       for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
       creditors or any other relief under the Bankruptcy Code, Title 11 of the United States Code, as amended or recodified from time to time, or under
       any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party") may (i) immediately cancel this Contract and all
       other Contracts between the parties hereto, (ii) liquidate such cancelled Contracts in a commercially reasonable manner, and (iii) aggregate such
       liqµidated amounts into a singleHquidatec:l settlement amount(the "Settlement Amount") due, which shall be due and payable two (2) busines.s
       days after written notice-by the Non~deraulting Party. In additibli", tt\e Non-defaulting Party may set-off any ~mounts owed: by the Defaulting Party to
       the Non-defaulting Party under any other agreements between the parties against any Settlement Amount owed by the Non-defaulting Party to the
       Defaulting Party hereunder.
       The parties agree that each of them is a forward contrac::t merchant as set forth in 11 U.S.C. Section 101 (25). The parties also agree that this
       Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101(25). The payments
       and transfers described herein shall constitute "Settlement Payments" or "Margin Payments" as set forth in 11 U.S.C. Sections 101 (51A) and (38).
       Each Party consents to the recording of all telephone conversations between its representative and the representatives of the other Party.

       This Contract is made on the basis Of frelgnt rates In effect on the date hereof. Any lm;;rea~c, in freight rate~ t11kin9 11ffect before tho full performance
       of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
       shipment.
       All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
       reasonable alternate place of delivery to facilitate Seller's performance of this Contract but shall have no obligation to do so. Any increased shipping
       charges incurred under this provision shall be for Seller's account and any reductions in shipping charges shall be for Buyer's account; provided
       however, if the designated alternate delivery points are solely for Buyer's convenience, increase shipping charges shall be for Buyer's account.

       Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

       Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
       Buyer's performance hereunder, or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specif,ed,
       shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
       lack of available storage space, equipmentbreakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
       disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
       This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
       terms and conditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
----insefer-as th&/-mi§ht~ny-wey aenflk:t wil!Hmy-term~r:-condititms of..Sell8F-s-<:.onftml8-ti<ln. ----
       There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
       60-250.4 and 41 C.F.R. para. 60-741.4 to extent the incorporation thereof is required by or necessary for compliance with applicable federal laws,
       regulations or orders. As used in such clauses, "contract0r'''shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order
       incorporates by reference the EEO Clause contained in 41 C.F.R. Sections 60-1.4, 60-741.5, and 60-250,5.
       CONTROVERSIES: Controversies and/or other disagreements between Buyer and Seller arising under this Contract shall be settled by arbitration
       which shall be a condition precedent to any right of legal action that either Buyer or Seller may have against the other party. Any arbitration shall be
       in accordance with the rules of the National Grain and Feed Association [NGFA]. At the time notice of arbitration is served by either Buyer or Seller
       upon the other, (I) if either is a member of NGFA, the NGFAArbitration Committee shall serve as the arbitrator; (ii) if neither is a member of the
       NGFA, the American Arbitration Association shall serve as the arbitrator.
                  Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 47 of 50



  GAVILON ~
                                          Gavilon Grain, LLC
 PINE BLUFF AR                                                                  Our Number:                  6052425
 509 ISLAND HARBOR MARINA RD                                                    FUTURE ONLY-HTA           Purchase
 PINE BLUFF, AR 71602
                                                                                Contract Date:               3/7/2018
 870/419-7008

           s                                                                      Customer No.            0000240927
           E   C & D FARMS                                                        Payment Terms:
           L   151 COTTONDALE RD                                                  Broker:
           L
           E                                                                      Broker No.:
           R   PINE BLUFF           AR     71601                                  Delivery Terms:     DLV PINE BLUFF
 SELLER AGREES TO AND CONFIRMS THE SALE OF THE FOLLOWING DESCRIBED COMMODITIES TO GAVILON GRAIN, LLC
 (BUYER) SUBJECT TO THE TERMS AND CONDITIONS STATED ON THE FACE AND BACK THEREOF. FAILURE TO ADVISE
 GAVILON GRAIN, LLC IMMEDIATELY BY WIRE OF ANY DISCREPANCY, OBJECTION TO OR DISAGREEMENT WITH SUCH
 TERMSAND-CONDITIONS SHALL BE AN ACCEPTANCEfHER-E6F: -- -- . ----- --WEIGHTS: ·-- --oESTiNATIUW ____ _
 COMMODITY: #1YSB YELLOW SOYBEANS                                                 GRADES:               DESTINATION
                                                                                  TRANSPORTATION:             TRUCK
 QUANTITY:       30,000.00                    BU                                  REFERENCE:
                                                                                  MARKET REGION:       PINE BLUFF AR
                       Delivery              ·schedule         Futures     Futures          Other                 BU
Status                  Dates                   Price          Month        Price           Fees             Scheduled
Unpriced         9/1/2018 - 9/30/2018          $0.00000        Nov-18      $10.4~00~     -$0,.03000            30,000.00




 Buyer's scale of discounts at time of delivery to apply.         Total Contracted BUSHELS                   30,000.00
                                                             TO BE PRICED DURING AN ACTIVE SESSION OF THE APPLICABLE
 Rules to apply: NGFA
                                                             EXCHANGE (CBOT/KBOTIMGE) PRIOR TO THE SECOND TO LAST
                                                             TRADING DAY PRECEDING THE FIRST NOTICE DAV
HTA CONTRACT FEE-.03
BASIS MUST BE SET BEFORE DLV




BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER. BUYER'S SCHEDULE OF
DISCOUNTS TO APPLY. SELLER GUARANTEES GRAIN U.S. GROWN. IF PRICE OF GRAIN 1$ ON A PREMIUM BASIS, CONTRACT TO BE
PRICED OR SPREAD PRIOR TO THE LAST TRADING DAY PRECEDING THE FIRST DELIVERY DAY OF THE FUTURES CONTRACT.



Conc~o~

                    C & D FARMS                       Date
                                                               Gavilon~ai2LC


                                  PLEASE SIGN ONE COPY AND RETURN TO ABOVE
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                                                                                 AESS.
                                                                                                -
                                                                                                         ~   -1   ~,e
                                                                                                                  Date
                              Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 48 of 50
                                                                TERMS AND CONDITIONS
        Except as modified or limited by the terms and conditions stated herein, the Contract shall be governed by ;:ind construed in accordance with the
        applicable rules and regulations of the exchange, board or association designated on the face he~of, or, if none is designated or Seller is not a
        member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
        hereof, and, !o the extent not inconsistent thet~with, the applicable provisions of the Uniform Commercial Code.
        Selier warren~ to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality in accordance with the
        grade specified herein; that it will have been grown in the Continental United States unless a non.United Slates grown clause has been made· a
        part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded within the meaning of the Federal Food, Drug
        and Cosmetic Act. nor be a commodity which may not, under the provisions of Section 404 or 505 of the Act, be introduced Into interstate
        commerce; 1hat neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
        state or local law, ordinance regulation quota or order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all llens,
        encumbrances, security interests, claims and penalties of any kind and nature.
       In the event that a party hereto (the "Defaulting Party") becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
       trustee, custodian or liquidator of itself or any of its property, or generally fails to pay its debts as they become due, or makes a general assignment
       for the benefit of creditors, or files a voluntary petition in bankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
       creditors or any other relief under the Bankruptcy Code, Title 11 of the United States Code, as amended or recodified from time to time, or under
       any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party'1 may (i) immediately cancel this Contract and all
       other Contracts between the parties hereto, (ii) liquidate such cancelled Contracts in a commercially reasonable manner, and (iii) aggregate such
       !!9.~~ated amounts into a single liquidated settlement amount (the "Settlement Arnounf1 due, which shall be due and payable two (2) business
       days afterwritten,notice by the Non-defaulting·Party. In addition, the Non-defaulting F-:arty may set-off any amounts owed by ttie'-Oefaulting Party to
       the Non-defaulting Party under any other agreements between the parties against any Settlement Amount owed by the Non-clefaul~ Party to the
       Defaulting Party hereunder.                                                                                  .     ·                       .
       The parties agree that each of them Is a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
       Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101 (25). The payments
       and transfers described herein shall constitute ''Settlement Payments" or "Margin Payments" as setforth in 11 U.S.C. Sections 101(51A) and (38).
       Each Party consents to the recording of all telephone conversations between its representative and the representatives of. the other Party.

       This Contract is made on the basis of freight rates In effect on the date hereof. Any increase in freight rates taking effett before the full performance
       of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
       shipment.
       All shipments of grain hereunder shall be made by Seller to the place of delivery dasignated herein. Buyer may subsequently designate any
       reasonable alternate· place of delivery to facilitate Seller's performance of this Contract but shall have no obligation to do so. Any increased shipping
       charges incurred und~r this provision shall be for S.eller's account and any reductions In shipping charges shall be for Buyer's account; ·provided
       however, if the design~ted alternate delivery points are solely for Buyer's convenience, increase,shipping charges shall be for Buyer's account.

       Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

       Buyer resetves the right to apply off-grade grain at market difference without first notifying Seller.
       Buyer's performance hereunder, or any delay in such performance, including the acceptance of deliveries of grain on the date or dates specified,
       shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
       tack of available storage space, equipment breakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
       disturbances, acts of God, or any other causiiS of the like or different character beyond Buyer's control.
     This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
_ _ _terrn.s and conditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
     frisofaFaslfley mlgnt in any way co11fliL,t wllfi anytern,s-or eondtt¼>Rs~f--Seller¼H:onflrmation. . . _. _ _    _ _ _ . -· __ ___ __ _ _ ___ _ ____ _

       There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
       60-250.4 and 41 C.F.R. para. 60-741.4 to extent the incorporation thereof is required by or necessary for compliance with applicable federal laws,
       regulations or orders. As used in such clauses, "contractor'' shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order
       incorporates by reference the EEO Clause contained in 41 C.F.R. Sections 60-1.4, 60-741..5, and 60-250.5.
       CONTROVERSIES: Controversies and/or other di11agreements between Buyer and Seller arising under this Contract shall be settled by arbitration
       which stlall be a condition precedent to. any right of legal action that eithftr Buyer or Seller may have against the other party. Any arbitration shall be
       in accordance with the rules of the National Grain and Feed Association [NGFAJ. At the time notice of arbitration is served by either Buyer or Seller
       upon the other, (I) if either is a member of NGFA, the NGFAArbitration Committee shall serve as the arbitrator; (ii) if neither is a member of the
       NGFA, the American Arbitration Association shall serve as the arbitrator.
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 --.....---------------------------------------,
              GAVILON ~
                                                         Gavilon Grain, LLC
             PINE BLUFF AR                                                                     Our Number:               6052426
             509 ISLAND HARBOR MARINA RD                                                       FUTURE Ot,.ILY-HTA-     Purchase
             PINE BLUFF, AR 71602
                                                                                               Contract Date:            5/1/2018
            870/419-7008

                       s                                                                         Customer No.          0000240927
                       E      C&DFARMS                                                           Payment Terms:
                       L      151 COTTONDALE RD                                                  Broker:
                       L
                       E                                                                         Broker No.:
                       R     PINE BLUFF             AR   71601                                   Delivery Terms:   DLV PINE BLUFF
               SELLER AGREES TO AND CONFIRMS THE SALE OF THE FOLLOWING DESCRIBED COMMODITIES TO GAVILON GRAIN, LLC
               (BUYER) SUBJECT TO THE TERMS AND CONDITIONS STATED ON THE FACE AND BACK iHEREOF. FAILURE TO ADVISE
               GAVILON GRAIN, LLC IMMEDIATELY BY WIRE OF ANY DISCREPANCY, OBJECTION TO OR DISAGREEMENTWITH~S.¥.UC,.,,Hw.---
      ---•·•·· TERMS AND CGNDITIONS SI-IAl:~ANACe~REOr.'-·. · . WEIGHTS: · · • • r.-. -DESTINATION
            COMMODITY: #1YSB YELLOW SOYBEANS                                                     GRADES:             DESTINATION
                                                                                                 TRANSPORTATION:           TRUCK
            QUANTITY:            5,000.00                  BU                                    REFERENCE:
                                                                                                 MARKET REGION:      PINE BLUFF AR
                                        Delivery          Schedule              Futures    Futures        Other             BU
           Status                        Dates              Price           Month           Price          Fees         Scheduled
           Unpriced              9/1/2018 - 9/30/2018      $0,00000             Nov-18    $10.45000     $0.03000           5,000.00




            Buyer's scale of discounts at time of delivery to apply.               Total Contracted     S                5,000.00
            Rules to apply: NGFA                                          TO BE PRICED DURING AN ACTIVE SESSION OF THE APPLICABLE
                                                                          EXCHANGE (CBOT/KBOT/MGE) PRIOR TO THE SECOND TO LAST
                                                                          TRADING DAY PRECEDING THE FIRST NOTICE DAV
     ' 1   I-ITA FEE .03   5000 of 20,000 bu




           BUYER OBJECTS TO THE INCLUSION OF ANY DIFFERENT OR ADDITIONAL TERMS PROPOSED BY SELLER. BUYER'S SCHEDULE OF
           DISCOUNTS TO APPLY. SELLER GUARANTEES GRAIN U.S. GROWN. IF PRICE OF GRAIN IS ON A PREMIUM BASIS, CONTRACT TO BE
           PRICED OR SPREAD PRIOR TO THE LAST TRADING DAV PRECEDING THE FIRST DELIVERY DAY OF THE FUTURES CONTRACT.



                                                           ~.,2;£./     "J' ·
                                                                            Gavilo~~in, LLc
                                                                                          __



'\
                                     C & D FARMS                 Date                      o=   SH~NG
                                                PLEASE SIGN ONE COPY AND RETURN TO ABOVE ADDRESS.
                                                                                                                        .S-01-W'
                                                                                                                            Date
                               Case 2:19-cv-00058-JM Document 1 Filed 05/24/19 Page 50 of 50
                                                                TERMS AND CONDITIONS
       Except as modified or limited by the terms and conditions stated herein, the Contract shall be governed by and construed in accordance with the
       applicable rules and regulations of the exchange, board or association designated on the face hereof, or, if none is designated or Seller Is not a
       member of said exchange, board, or association, then the applicable trade rules of the National Grain and Feed Association in effect on the date
       hereof, and, to the extent not inconsistent therewith, the applicable provisions of the Uniform Commercial Code.
       Seller warrants to Buyer that all grain sold and delivered hereunder will be of good, sound, dry and merchantable quality in accordance with the
      .grade specified herein; that it will have been grown in the Continental United States unless a non-United States grown clause has been made a
       part of this Contract and so stated on the face hereof; that it will not be adulterated or misbranded withln the meaning of the Federal Food, Drug
       and Cosmetic Ad, nor be a commodity which may not. under .the provisions of Section 404 or 505 of the Act, be introduced into interstate
       commerce; that neither any such grain nor the shipment thereof will be in violation of or subject to penalty, seizure or lien under any other federal,
       state or local law, ordinance regulation quota o.r order, and all grain sold hereunder will be delivered to Buyer free and clear of any and all liens,
       encumbrances, security interests, claims and penalties of any kind and nature.
       In the event that a party hereto (the "Defaulting Party'? becomes insolvent, or suffers or consents to or applies for the appointment of a receiver,
       trustee, custodian or liquidator of itself or any of its property, or generally fails to pay its debts as they become due, or makes a general assignment
       for the benefit of creditors, or files a voluntary petition in l>ankruptcy, or seeks reorganization, in order to effect a plan or other arrangement with
       creditors or any other relief under the Bankruptcy Code, Title 11 of the United States Code, as amended or recodified from time to time, or under
       any state or federal law granting relief to debtors then the other party (the "Non-defaulting Party'1 may (i) immediately cancel this Contract and all
      ·other Contracts between the parties hereto, (ii) liquidate such cancelled Contracts In a commercially reasonable manner, and (iii) aggregate such
       liquidated.amounts into a single liquidated settlement amount (the "Settlement Amount") due, which. Shall be due and payable two (2) business
       days after written notice by the Non-defaulting Party. In addition, the Non-defaulting Party may set-off any amounts owed by the Defaulting Party to
       the Non-defaulting Party under any other agreements between the parties against any Settlement Amo1.mt owed t;>y the Non-defaulting Party to the
       Defaulting Party hereunder.          ·                                                                       ·
      The parties agree that each of them is a forward contract merchant as set forth in 11 U.S.C. Section 101(25). The parties also agree that this
      Contract and any other commodity contract between the parties are all forward contracts as defined in 11 U.S.C. Section 101(25). The payments
      and transfers described herein shall constitute "Settlement Payments" or ''Margin Payments" as set forth in 11 U.S.C. Sections 101 (51A) and (38).
      Each Party consents to the recording of all telephone conversations between its representative and the representatives of the other Party.
      ·This Contract is made on the basis of freight rates in effect on the date hereof. Any increase in freight rates taking effect before the full performance
       of this Contract shall be for the account of Seller unless otherwise adjusted and agreed upon between the parties at the time of the affected
       shipment.                                                       -
      All shipments of grain hereunder shall be made by Seller to the place of delivery designated herein. Buyer may subsequently designate any
      reasonable alternate place of delivery to facilitate Seller's p&rformance of this Contract but shall have no obligation to do so. Any Increased shipping
      charges incurred under this provision shall be for Seller's account and any reductions in shipping charges shall be for Buyer's account: provided
      however, if the designated alternate delivery points are solely for Buyer's convenience, increase shipping charges shall be for Buyer's account

      Unless otherwise specified, each shipment hereunder will be applied to the oldest open contract between Buyer and Seller.

      ·Buyer reserves the right to apply off-grade grain at market difference without first notifying Seller.
      Buyer's performance hereunder, or any delay in such perfomiance, Including the acceptance of deliveries of grain on the date or dates specified,
      shall be excused where such failure to perform or delay is attributable to any cause or reason beyond Buyer's control, including without limitation
      lack of available storage space, equipment breakdown, labor trouble, governmental regulations, transportation difficulties, embargoes, civil
      disturbances, acts of God, or any other causes of the like or different character beyond Buyer's control.
      This Contract is intended by the parties as a final expression of their agreement and is intended also as a complete and exclusive statement of the
      terms and conditions of their agreement. This Contract is limited to the terms and conditions stated herein, which terms and conditions shall prevail
···-7nsofaflislfi'i!yfflij}litiff'arrfw&y-confficrwith anyterms-orcondition$ c!~s-cenfirmatiol'!,--                                  ________ .
       There are hereby incorporated herein by reference the respective Equal Opportunity Clauses set forth in 41 C.F.R. para. 60-1.4 (a), 41 C.F.R. para.
      .60-250.4 and 41 C.F.R. para. 60-741.4 to extent the incorporation thereof is required by or necessary for compliance with applicable federal laws,
       regulations or orders. As used in such clauses, "contractor'' shall mean the Seller hereunder. Unless otherwise exempt, this Purchase Order
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      NGFA, the American Arbitration Association shall serve as the arbitrator.
